        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 1 of 60




                 IN THE UNITED STATES DISTRICT COURT FOR

                       THE DISTRICT OF MASSACHUSETTS

NUANCE COMMUNICATIONS, INC.,

               Plaintiff and Counterclaim   Case No. 1:19-cv-11438-PBS
               Defendant,

   v.

OMILIA NATURAL LANGUAGE
SOLUTIONS, LTD.,

              Defendant and Counterclaim
              Plaintiff.


         DECLARATION OF CHRIS SCHMANDT IN SUPPORT OF
   NUANCE COMMUNICATIONS, INC.’S OPPOSITION TO DEFENDANT’S
MOTION FOR PARTIAL SUMMARY JUDGMENT FOR THE INVALIDITY OF U.S.
                       PATENT 6,999,925
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 2 of 60




       I, Chris Schmandt, hereby declare and state the following:

I.    INTRODUCTION AND SUMMARY OF OPINIONS

       1.        I was hired as an expert consultant and to provide consultant services on behalf of

Nuance Communications, Inc. (“Nuance”), in connection with this litigation.

       2.        I have been asked to provide this declaration concerning whether claims 1 and 27

of U.S. Patent No. 6,999,925 (the ’925 Patent) are invalid under the doctrine of obviousness-type

double patenting (“ODP”) in view of claim 6 of U.S. Patent No. 6,789,061 (the ’061 Patent), and

whether claim 14 of the ’925 Patent is invalid under the doctrine of obviousness-type double

patenting in view of claim 14 of the ’061 Patent. It is my opinion that they are not, applying the

legal standards as they have been explained to me. My analysis is set forth in detail below.

       3.        I am over the age of 18 years and I have personal knowledge of the facts recited

herein and could testify competently thereto.

       4.        The purpose of the ’925 Patent is to take an existing recognizer, and enhance it for

a particular domain, such that it retains its original richness, but is also optimized for the new

domain because the new speech recognizer can account for new phonetic contexts not present in

the general speech recognizer. In a more general sense, “. . . one is able to derive a new,

recalculated set of equivalence classes that can be considered by construction as a domain or

dialect dependent refinement of the original phonetic contexts.” (’925 Patent col. 8:7-10).

       5.        The ’925 Patent describes a process to adapt a given recognizer, with an associated

decision tree previously built with labelled training data. Using the existing decision network as

a starting point, new domain-specific training data is run through the decision network. In one

embodiment, the decision tree component of the decision network serves as the starting point,

asking the same questions as before about the likelihood of achieving a better partitioning of the

tree by splitting or merging nodes of the newly developed decision tree, allowing the phonetic

contexts to change through this process to account for phonetic contexts that are meaningful in the

training data.



                                                  2
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 3 of 60




       6.      At the end of this process, the HMMs previously associated with the leaf nodes may

be re-adjusted to appropriately model the new training data. There may be more, or fewer, nodes,

including leaf nodes. In short, the ’925 Patent generates a new recognizer by adapting the decision

network with new training data. HMM parameters may be re-adjusted in the last stage of this

process because training in the new acoustic data may suggest other speech patterns characteristic

of the phonemic contexts grouped into any particular leaf node.

       7.      By contrast, the purpose of the ’061 Patent is to take an existing recognizer and

produce a new, smaller recognizer for a particular domain, such that the new recognizer requires

less processing power or a smaller memory footprint using the existing phonetic contexts of the

general speech recognizer.

       8.      That is, the ’061 Patent adapts a given recognizer to a new domain only by deleting

some of the HMM states and associated PDFs (especially if an HMM is associated with PDFs in

the form of Gaussian Mixture Models (GMMs) of multiple underlying base PDFs). This is

accomplished by running training data through the recognizer, and noting which HMMs are not

activated, or for those that are, any of the mixed PDFs that are not relevant (don’t contribute much

to the probability of matching an input acoustic frame). Because the only operation on the HMMs

is deletion (of whole HMMs or only some of their associated PDFs) the new recognizer is smaller,
a subset of the previous recognizer.

       9.      The heart of Omilia’s argument seems to be that the HMM states which may be

deleted in the ’061 Patent are the same as the nodes of the decision tree which may be deleted

(among other operations) in the ’925 Patent, and that therefore the two patents are simply stating

the same invention in different terms. This is clearly incorrect.

       10.     The nodes of the decision tree do not correspond to HMM states, although they can

be used in the process of generating HMM states. HMM states model production of speech sounds,




                                                 3
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 4 of 60




based on the probabilities of each HMM producing a given set of feature vectors.1 Decision tree

nodes are binary questions about phonemic context that are used to separate training data acoustic

frames, the final set of which will be used to construct the HMMs.

       11.     HMMs have associated PDFs (related to matching acoustic features), as stated in

the preamble of each independent claim. There are no PDFs associated with decision tree nodes.

       12.     Contrary to Dr. Cohen’s assertions, the decision trees used to generate the

recognizer by portioning the training speech data are not used to recognize speech. Recognition

involves capturing speech, converting it to acoustic frames, and then calculating which HMM

sequence was most likely to have produced that series of frames. Decision trees can be used during

training of the acoustic model by sorting out labeled speech recognition data, or to assist in the

sequencing of phonemes that is recognized by the acoustic model when deployed.

       13.     When acoustic features are passed through the decision tree as part of the training

process, they must be labelled. The question at each node of the decision tree asks which phoneme

this frame is from, and in which phonemic context; the decision does not look at the feature data

to make this decision, only the labels. This is because decision tree process clusters sets of training

frames based on phonemic context; only then are the acoustic contents of the frames analyzed to

determine an appropriate HMM and PDF(s). Similarly, when decision trees are used in improving

the performance of a speech recognizer, the trees refine sequences of phonemes that were

recognized by the acoustic models.

       14.     Although the ’925 and ’061 Patents both teach techniques to produce a new

(second) speech recognizer, which is improved according to some (different) metrics, and even

though both techniques start with a (first) general purpose speech recognizer and make use of

specialized training data, they use completely different and disjoint techniques, neither of which

is a “species” or “instance” of the other.



1
 Within the recognizer, speech is converted to feature vectors, a computationally concise way to
mathematically represent the speech sounds in spoken audio.


                                                  4
           Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 5 of 60




II.   QUALIFICATIONS

       15.      I received my BS degree in Computer Science in 1979 and my MS degree in Visual

Studies (specifically interactive computer graphics) in 1980, both from MIT. Following my

studies, I spent my entire career at MIT, first as a research scientist at the Architecture Machine

Group, then as a Principal Research Scientist at the Media Laboratory, of which I was a founding

member in 1985. In the Media Laboratory I served as a faculty member and research supervisor,

and directed a research group with student members at all levels. This group, Speech Research,

focused on applications and user interfaces for speech technologies, with an emphasis on

telecommunication systems.

       16.      In these positions I authored research proposals, performed and supervised said

research, and taught classes and supervised theses at all levels. I also served on the Departmental

Intellectual Property committee and chaired it for about five years. I supervised all undergraduate

research in the Laboratory since its inception, and for the last half dozen years of my career

supervised thesis proposal and general examination approval for all graduate students in the

Laboratory.

       17.      I regularly published papers, of which I have approximately 80, usually with my

students as co-authors. I also wrote a book, Conversational Computer Systems, in 1996; this book

discussed technologies and applications for speech recognition and synthesis, digital audio

recording, voice telecommunications systems, and interactive voice response. For fifteen years I

taught a graduate level course based on this text. I am also a named inventor on a number of US

Patents.

       18.      Speech technologies were the core of my research for the first two decades of my

career at MIT. I became well known for my early Put That There system, which was one of the

very first multimodal computer interfaces (1979) employing speech recognition and also a

pioneering conversational voice system. Much of my work focused on applications of speech

technologies and user interface techniques, and as such included work in language models, parsers,

and dialog design. With my students I built one of the first unified messaging systems, Phone


                                                5
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 6 of 60




Slave, in 1983; the system integrated voice and text messages, with telephone-based speech and

desktop oriented graphical user interfaces. I also built the first real time spoken driving directions

navigation system in 1988; as with the systems that became commonplace a decade later, Back

Seat Driver could determine optimal routes and instruct a driver to follow them, including

detecting and correcting navigation errors. I applied speech recognition to user interface design

of hand-held and wearable computing and communication systems, such as Voice Notes and

Nomadic Radio, which were early hand-held and wearable computers equipped with speech

recognition input.

       19.     For my pioneering work in voice user interface design, I was awarded a position in

2007 into the Association for Computing Machinery’s CHI (Computer Human Interaction)

Academy, an honor given to a handful of researchers each year.

       20.     I retired from MIT at the beginning of 2019.

       21.     Attached hereto as Exhibit A is a copy of my curriculum vitae, which provides

additional detail about my background and qualifications.

III.   MATERIALS CONSIDERED

       22.     To prepare this declaration, I have considered the ’061 and ’925 Patents, their

prosecution histories, the declaration of Jordan Cohen in support of Omilia’s motion for partial

summary judgment, and the materials cited in his declaration. I have also considered the materials

that are discussed in the body of this declaration. I have also considered certain legal standards,

discussed later in this declaration, that I understand apply in patent litigation.

       23.     I have prepared this declaration based upon the information and materials that are

currently available. In the event that additional information becomes available or is provided to

me, then I may change, supplement, or amend my analysis and opinions based on any newly

available information.




                                                   6
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 7 of 60




IV.    LEGAL STANDARDS

        24.     To be clear, I am not a lawyer or an expert in patent law. I have been informed that

it is ultimately the Court that will decide and apply the legal standards related to Omilia’s motion.

Following is my understanding of the legal standards that the Court will apply in its analysis.

        A.      Legal Standards Concerning Obviousness-Type Double Patenting.
        25.     In connection with this declaration, I have been asked to assume the following

about obviousness-type double patenting.

        26.     I understand that the doctrine of double patenting is intended to prevent a patentee

from obtaining a time-wise extension of a patent for the same invention or an obvious modification

thereof. In other words, I understand the double patenting doctrine to be aimed at situations where

two patents from the same inventor, with different expiration dates, claim the same invention or

an obvious variant thereof. Although I understand that there are two varieties of double patenting,

“same invention” (covering identical subject matter) and “obviousness-type” (where a later-

expiring patent is an obvious variant of an earlier one), I understand that Omilia’s present motion

only relates to obviousness-type double patenting (“ODP”).

        27.     I understand that analyzing claims for obvious-type double patenting requires

comparing claims in an earlier patent to claims in a later patent. Thus, the starting point in such

an analysis is the reference claims of the earlier patent. There are two steps in comparing the
claims of the two patents. First, the claims must be construed, and any differences identified.

Second, the differences must be considered to determine whether they render the claims patentably

distinct. A later patent claim is not patentably distinct from an earlier patent claim if the later claim

is obvious over, or anticipated by, the earlier claim. For this second step, the inquiry is analogous

to the obviousness analysis under 35 U.S.C. § 103, but is limited to comparing the claims of the

two patents.

        28.     While the analysis of the differences is to be considered on a term-by-term basis, it

is also necessary to consider the claims as a whole in determining whether the later claim is

patentably distinct from the earlier claim.


                                                   7
           Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 8 of 60




       29.      Finally, to reiterate, I understand that the focus of the ODP doctrine rests on

preventing a patentee from claiming an obvious variant of what it has previously claimed, not what

it has previously disclosed. Thus, it is the claims, not the specification, that define an invention.

And it is the claims, not the specification, that are compared when assessing double patenting.

       B.       Legal Standards Concerning Claim Construction.
       30.      As I noted above, it is my understanding that the first step in an ODP analysis

requires that the claims be construed. Accordingly, I have been asked to assume the following

about patent claim construction.

       31.      The scope and meaning of a patent claim is determined based on what the claim

would mean to a person of ordinary skill in the art (“POSITA”). This determination is made as of

the time of the invention and based on intrinsic and extrinsic evidence. In my discussion below, I

address what I believe to be the level of skill required for a POSITA for the ’061 and ’925 Patents.

       32.      A patent’s claim language and specification are intrinsic evidence. One should

analyze the intrinsic evidence from the perspective of a POSITA to understand a claim term. A

patentee may define or ascribe a particular meaning to a claim term in the specification. However,

a POSITA should not read limitations from the specification into a claim if the limitation is not

already found in the claim language.

       33.      The prosecution history of a patent is also intrinsic evidence. This is the back and

forth communications between the patent applicant and the U.S. Patent and Trademark Office

(“PTO”), which creates a record of the patent’s prosecution. The prosecution history may indicate

how the claims should be interpreted, how the inventor (or the PTO) understood the patent, and

differences between the claims and the prior art. My understanding is that amendments to the

claim language or arguments made by the applicant during prosecution can be indicative of or limit

the claim scope or meaning in the patent that issues from that application, as well as in related
patents.




                                                 8
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 9 of 60




       34.     To determine the meaning of a claim term and claim scope, one should read and

analyze a claim term in the context of the entire patent in which the term appears, including its

specification and prosecution history, and not just in the context of a particular claim. Also, one

should consider the education level, knowledge, and experience of a POSITA when determining

the meaning of a claim term.

       35.     Extrinsic evidence can also be considered when determining the meaning of a

patent claim, but it is not as important as, and cannot supersede the meaning according to, the

intrinsic evidence. Extrinsic evidence can include technical dictionaries and expert testimony.

       C.      Definition of Person of Skill in the Art.
       36.     I understand claims are interpreted from the perspective of a POSITA at the time

of the invention. To determine the characteristics of a POSITA for the Nuance Patents at the times

of the inventions, I have considered the state-of-the-art of speech recognition systems in the

relevant time period for each of the Nuance Patents. This includes considering the problems

encountered in the art at that time. I also have considered the education and experience of persons

who were working in the field at that time, including my own experience and knowledge at that

time and others who I worked with on these issues and problems. Further, I have considered the

experience, education, and knowledge of persons in industry and academia at that time who were

working in the aforementioned fields.

       37.     The ’925 Patent was filed on November 13, 2001 and claims priority from EP

application 00124795, filed on November 14, 2000. For purposes of this declaration, I consider

the time of the invention to be the November 2000 timeframe when the EP application was filed.

It is my opinion that a POSITA for the ’925 Patent would have at least a bachelor’s degree in

computer science, electrical engineering, or another scientific field, plus two years work

experience in the field of speech recognition, or education and work experience equivalent thereto.
       38.     I understand that Dr. Cohen has opined that a POSITA as of November 14, 2000

“would have at least a Bachelor’s of Science degree in electrical engineering and or computer




                                                9
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 10 of 60




science, with preferably a Master’s degree, and 2-3 years of experience working large vocabulary

speech recognition systems.” Cohen Decl. ¶ 25.

       39.     In my opinion, the differences between the level of skill in the art I have identified

and that identified by Dr. Cohen are not substantial and do not make a difference in the opinions I

have provided herein. As stated above and in my CV, under either articulation I have at least the

qualifications of a POSITA – both today and at the time of the invention of the ’925 Patent.

V.    BACKGROUND TECHNOLOGY

       40.     The goal of speech recognition is to turn human spoken language into text. Rather

than recognizing whole words, the recognizer detects sub-word units, which constitute a speech

“alphabet” and hence can spell out any word. The unique sounds which make up the words of any

language are called phonemes, and a recognizer must understand the stream of phonemes in our

speech in order to find the words. We teach the recognizer how to identify phonemes in speech

by training it with lots of examples of real speech making those sounds. As part of this process

we must decide exactly what training data to use, and then how to build the recognizer’s internal

representation, or model, of that collective training data so it can find the same sounds in unknown

speech input during recognition.

       41.     In English there are a more phonemes (linguists usually say around 42) than there

are letters, because sometimes a letter can make multiple sounds. It is natural for speech

recognizers to use phonemes, because phonemes are the sounds of a language; but recognizers

must deal with the problem that the same phoneme is not always spoken the same way. Consider

the “t” in “cat” versus “bottle”; they sound rather different. The sounds (phonemes, including

possible silence at the ends of a word) influence the way the phoneme is spoken. A speech

recognizer includes an “acoustic model” which analyzes the actual sounds of speech to map them

to higher level linguistic constructs, such as these phonemes. One way this overall acoustic model

is obtained is to build a specific acoustic model for how each phoneme sounds. The implication




                                                10
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 11 of 60




of differing pronunciations is that multiple such specific acoustic models may be required for a

single phoneme.

       42.     To generalize, pronunciation of phonemes depends on phonemic context (the

neighboring phonemes to the left and right—speech recognition often refers to sequences of three

phonemes as a triphone). One could build an acoustic model to detect each phoneme based on its

sound in the context of each other phoneme preceding or following, but this would get very large,

about 75,000 such models. But not all these distinct phonemic contexts really sound different; “t”

in “hit” sounds like “t” in “cat” and the “t’s” in “little” and “bottle” also sound the same. If we

could combine the ones that sound similar, we could save a lot of memory and computation.

       43.     The challenge is to determine a minimal set of phonetic contexts which captures

when a phoneme is invariant (sounds the same in some number of different contexts) as well as in

which contexts the same phoneme will sound different. We can utilize a machine learning

construct called a decision tree in speech recognition to determine which phonemic contexts are

actually different enough to warrant their own models, and in the process use them to sort acoustic

training data into buckets which can later be turned into acoustic models.2

       44.     Specifically, in the context of generating a recognizer, a decision tree is used to

classify labelled acoustic data frames. While listening to speech, a recognizer samples the speech

at a regular interval, such as every 10 milliseconds, and extracts certain audible features to

represent what it sounds like; this basic unit of speech sound is a frame. Training data consists of

audio recordings with time-aligned transcriptions, i.e. each acoustic frame labelled with the

phoneme in which it occurred. Because the audio frame is labelled, we know which phoneme was

being spoken when it was produced. The time alignment is necessary because most phonemes are

long enough to span multiple frames and labelling will allow the frames to be sorted by phoneme.


2
  There are other ways a decision tree can be employed in speech recognition. Here I limit my
discussion to context framed by Omilia in equating decision tree to recognizer states, i.e. to
partition phonetic context data.



                                                11
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 12 of 60




So the labelled training data consists of a large number of speech frames, and we know which

phoneme was being spoken for each.

       45.     Each acoustic frame is passed through the decision tree, where it is subject to a

series of yes/no (binary) questions based on its phonemic context (typically the phonemes before

and after the phoneme with which the frame has been labelled). For example, after asking “Is it

followed by an L?” the next question might be “Is it preceded by an S?” Starting from its root,

then, the decision tree has many branches, coming out two at a time (for “yes” and “no”) from

junctions called nodes (a term common in discussion of graphs and networks). As the frame is

subject to questions at each node of the tree, it propagates “downward” until it ends up at a leaf

node. Initially, the decision tree may be generated on the fly depending on the distributions of the

labelled training frames. This process strives to collect similar phonemic contexts (again, a

phoneme in the context of the preceding and following phoneme) together, so we don’t have to

build a distinct acoustic model for every 75,000 or so phonemic contexts. At the same time, it

must distinguish those contexts which sound different or else recognition will fail. Split and merge

algorithms handle generating the tree, adding and deleting nodes (questions) as needed to obtain

good distribution of the training data. Many of the contexts may be “equivalent” in terms of

pronunciation, and hence require only a single model.
       46.     During this time, the recognizer is not performing recognition, but rather grouping

the acoustic frames of the training data, saving each at one of the leaf nodes. Note that each of the

frames that collect at the leaf nodes are not identical. Speech is too variable. But after this process

they should all be somewhat similar, or at least cluster into similar groups. And an important

function of the decision tree is to ensure that each of the final leaf node groups has a similar amount

of training data, to adequately represent the entire language, but trying to avoid contexts for which

there is little training data, i.e. phonetic contexts that are uncommon in the language. This is

referred to as partitioning the training data.

       47.     Once the training data has been collected and grouped using the decision tree, the

next step is to build the acoustic model, specific to each phoneme or, more precisely, specific to


                                                  12
         Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 13 of 60




each leaf node of the decision tree; for this discussion the model is based on Hidden Markov

Models (HMMs). An HMM is a series of states, with transition probabilities between states,

wherein at each interval of time whichever state is currently occupied can be thought of as

“emitting” a particular characteristic acoustic frame. The HMM is not itself actual speech data,

but rather a computational model which executes over time and generates hypothetical speech data

(in a probabilistic manner).

         48.   After the decision tree has been generated and the acoustic training data (frames)

passed through it, each leaf node of the tree has an associated collection of frames. These frames

consist of actual speech data; because the training data also has a time aligned transcription, the

decision tree “questions” group the training frames into phonetically significant clusters. Then an

algorithm (e.g. Baum Welch) is run on that acoustic data to build an HMM which is likely to

produce frames similar to those collected. An associated probability density function (PDF) relates

how likely the HMM is to produce any of the frames which have been used to build it. Basically,

the HMM should be likely to produce frames which are very similar to those from which it was

built.

         49.   Each Hidden Markov Model state is associated with a particular phoneme in

context cluster. And the PDF describes what “sound” (more precisely, acoustic features, defined
probabilistically) that HMM state can make. The model is called “Hidden” because when we are

recognizing speech, we don’t know which state the HMM should actually occupy at any time

because we don’t yet know what is being spoken, that is the problem to solve. Rather the HMM-

based recognizer will determine which states would be most likely to sound like what was actually

spoken; we then assume that was what the person was saying.

         50.   Because we know the path through the decision tree that each acoustic frame took,

and the paths are based on questions about phonemic context, we know the phoneme(s) in the

context which each HMM models. This set of HMMs and associated PDFs relating HMMs to

acoustic evidence constitutes a type of an acoustic model.




                                                13
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 14 of 60




       51.     In performing recognition using HMMs, a series of acoustic frames is captured

from speech by digitizing and converting it to the same type of acoustic frames that were used to

train the recognizer. The problem is then to determine, for a given set of captured acoustic frames,

which sets of HMMs, traversed in some sequence stepwise over time, would be most likely to have

produced the observed spoken sequence. This is a probabilistic process – different paths could be

taken through the HMMs, and some are more likely or less likely to have produced that sequence.

An algorithm such as Viterbi performs this task in a well-known manner.

       52.     Once we have an estimation of which HMMs were traversed, we can assemble a

series of phonemic contexts which those HMMs represent, and get a (likely imperfect) phonemic

transcript of the speech of possible outcomes with varying probabilities of phonetic transcripts the

person may have said.

       53.     The description of the PDFs above was a bit simplified. Note that the leaf nodes of

the decision tree, which result in distinct HMMs, depend on only the phonemic context. There is

some natural variability in the way distinct individuals pronounce the sounds in speaking those

phonemes, but all the acoustic contexts end up being modelled by a single HMM.                  The

pronunciations are likely to group into clusters, which we hear as the people’s speaking styles.

When the pronunciations cluster, this will be seen as the collection of acoustic frames to be
modeled clustering in a corresponding manner. Instead of having a single PDF associated with

the HMM which is built based on the acoustic data, it is often seen useful to instead mix multiple

PDFs, with one PDF for each acoustic cluster. This is referred to as a Gaussian Mixture Model.

When used, then, there may be multiple PDFs which associate observable acoustic features with

underlying HMMs which might have generated them. If this technique is used, an HMM may

have multiple associated PDFs.

VI.   THE ’061 PATENT

       54.     The primary purpose of the invention is to minimize the resources required of a

speech recognizer, so it can run on a less powerful computational platform and/or with a smaller



                                                14
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 15 of 60




memory footprint. See in general col. 1:66 – 2:35. The patent describes a way to determine which

parts of the acoustic model of an initial, general purpose, recognizer are required for adequate

performance on a specific task or domain, and then remove the parts which do not contribute much

to recognition performance, to obtain a smaller recognizer, which may be important in

circumstances where the general purpose recognizer would require too many resources (e.g.,

memory and/or computing power).

       55.     This is referred to as “squeezing” and “pruning” the recognizer, i.e. removing, or

subsetting, some portions of the acoustic model which are less appropriate for a specific and

limited application, as opposed to the more general purpose speech recognizer. Specifically, this

is done by starting with the set of states of the general recognizer, then choosing a subset of HMM

states – squeezing - and pronunciation probability density functions (PDFs) – pruning - associated

with some of those states (col. 2:15-25), based on which of those HMM states and PDFs are most

likely to have produced each frame of the application-specific speech training data (col. 7:3-8).

This process does not have the ability to change the phonetic contexts of the general purpose

speech recognizer (and in fact it has no access to the phonetic context decision tree). It can only

delete some of the states, which had been previously derived by sorting acoustic training data using

the decision tree based on their phonetic contexts.
       56.     To squeeze HMM states, the training data is “Viterbi aligned” with the set of HMM

states. Viterbi alignment is a process to determine which of the states would most likely produce

a correct transcription, on a frame-by-fame basis. Those states which appear frequently after

alignment with the training data are more important to correct recognition and must be retained.

Those states which are seen infrequently may be subject to squeezing (col. 6:8-33).

       57.     Similarly, the sets of PDFs can be pruned by comparing the acoustic outputs that

each surviving state produces versus each matched acoustic frame. Since the GMMs (Gaussian

Mixture Models) describe a mixture of base output probability PDFs, it is possible to determine

how similar the various PDFs in the mixture are to the actually recorded acoustic features, on a

frame by frame basis. If the training data contains speech which maps well to only one of the


                                                15
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 16 of 60




acoustic outputs, the other PDFs may be pruned (col. 6:34-51). Put another way, if an HMM state

can, via its acoustic realization PDFs, cover several ways that particular phonemic context may be

spoken, but only one of those ways of speaking is encountered in the training data, then the

remaining (non-encountered) ways of speaking can be removed.

VII.   THE ’925 PATENT

       A.      ’925 Patent’s Invention.
       58.     I understand that Dr. Karen Livescu previously submitted a declaration in

connection with claim construction proceedings in this litigation, and that in her declaration she

provided the following summary of the ’925 Patent. I agree with Dr. Livescu’s summary.

       59.     The ’925 Patent teaches an improved method for efficiently refining a speech

recognizer to better handle particular domains (such as languages, dialects, task areas, or user-

specific information, see col. 6:3-8, 9:6-23). At the time of the claimed invention of the ’925

Patent, general purpose, large vocabulary, continuous speech (the way humans speak when talking

normally, and a more difficult type of speech for recognizers to process as compared to words

spoken with pauses between each word) recognizers were known in the art and were in general

usage. However, while such speech recognizers provide good overall speech recognition quality,

when a use-case centers on a specific domain – which may differ from the domain of the general-
purpose speech recognizer in terms of its vocabulary, dialect, acoustic conditions, and so on – the

speech recognition accuracy may not be as high as would be possible with a more specialized

speech recognizer.

       60.     While additional domains may be similar or related to the general-purpose domain,

there may be particular phonetic contexts—particular ways that words are pronounced, or that

words or sub-word units are used in sequence together—that are characteristic of the domain. In

such cases, taking domain-specific data into consideration can improve the accuracy of a speech

recognizer for a particular context of use. But using the invention of the ’925 Patent, there is not

a need to completely train the new speech recognizer from scratch, particularly if there are parts



                                                16
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 17 of 60




(even, perhaps, substantial parts) of the original speech recognizer that can be used in combination

with a (smaller) set of specialized data to adapt the recognizer to the new domain.

       61.     Prior art methods of providing domain-specific speech recognizers tended to entail

either merely “select[ing] a domain specific subset from the phonetic context inventory” of the

general-purpose recognizer, or extensively-retraining a speech recognizer, based on a large,

specialized dataset. See generally col. 1:15 - 2:17, quotation from col. 2:1-3. By contrast, the

inventions claimed in the ’925 Patent start with a general purpose, large vocabulary speech

recognizer, and by adding only a modest amount of additional specialized training data

(“adaptation data,” see col. 2:56) to the initial dataset, are able to efficiently provide a new,

specialized speech recognizer that includes the new training data and new phonetic contexts.

Because the collection of training data and subsequent training of a speech recognizer is expensive

and time consuming, adapting a general purpose speech recognizer to a specific domain greatly

reduces development costs and time to market.

       62.     The technique disclosed in the ’925 Patent is to start with the original decision

network and efficiently recalculate it via the use of a smaller amount of domain-specific training

data. The data is processed through the decision network in the same way as the original training

data was processed to produce the original recognizer, and the new data is allowed to modify the
decision tree in the process. The split-and-merge methods described for both the original and new

adaptation data control the decision tree’s topology. In the process of keeping a balance while

partitioning the training data – separating it into the various leaf nodes of the tree to provide audio

frame material to create the acoustic model – nodes may be added or removed at any level in the

decision tree. Once all the adaptation data has been processed and a new phonemic decision tree

thereby created, the acoustic model can be generated.

       B.      The ’925 Patent Differentiates Itself from the European Patent Application
               from Which the ’061 Patent Claims Priority.
       63.     The inventors of the ’925 Patent acknowledge and distinguish that patent from the

techniques of the ’061 Patent. Repeatedly throughout the ’925 Patent, the specification discusses


                                                  17
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 18 of 60




and distinguishes European patent application EP 99116684.4, which the ’061 Patent indicates on

its face is the application from which the ’061 Patent claims priority.

       64.     Starting at col. 6:32, the inventors describe the training procedure of a speech

recognizer as a two stage process, “1.) the determination of relevant acoustic contexts and 2.) the

estimation of acoustic model parameters.” (Col. 6:34-36 (emphasis added). They then describe

how some existing approaches (MAP, MLLR) focus exclusively on re-estimation of the acoustic

model parameters, “Importantly, these approaches leave the phonetic contexts unchanged.” (Col.

6:44). At this point, the inventors have articulated two distinct approaches, and the ’925 Patent’s

invention will be seen (in the rest of the specification) to correspond to the first. They point out

that the second set of techniques have heretofore been mostly used to adapt speaker independent

recognizers to a particular user (col. 6:47-49).

       65.     The inventors go on (col. 6:50) to discuss additional techniques of modifying

acoustic models to achieve better domain specific speaker independent recognition. Here they cite

to EP 99116684.4 (from which the ’061 Patent claims priority) describing it as “selecting a subset

of probability density functions (PDFs) being distinctive for the domain.” (Col. 6:63-64).

       66.     They specifically distinguish the ’925 Patent invention from the EP invention,

characterizing the two approaches as “orthogonal[] to” each other, because the ’925 Patent
invention “focuses on re-estimation of phonetic contexts or – in other words – the adaptation of

the recognizer’s sub-word inventory to a special domain.” Col. 6:66 - 7:2. This phonetic context

is what was called out in part 1) (above) of the description of the bifurcation of two major

approaches at col. 6:32. As the inventors state here, the ’925 Patent recalculates the phonetic

context, while the ’061 Patent has nothing to do with it.

       67.     Column 7 goes on to explain clearly how the invention of the ’925 Patent is

different: “Whereas in any speaker adaptation algorithm, as well as in the above mentioned

documents of V. Fischer et al., the phonetic contexts once estimated by the training procedure are

fixed, the present invention utilizes a small amount of upfront training data for the domain specific

insertion, deletion, or adaptation of phones in their respective context. Thus re-estimation of the


                                                   18
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 19 of 60




phonetic contexts refers to a (complete) recalculation of the decision network and its corresponding

phonetic contexts based on the general speech recognizer decision network. This is considerably

different from just ‘selecting’ a subset of the general speech recognizer decision network and

phonetic contexts or simply ‘enhancing’ the decision network by making a leaf node an interior

node by attaching a new sub-tree with new leaf nodes and further phonetic contexts.” (Col. 7:2-

17).

       68.     To be clear, the inventors themselves describe above how the ’925 and ’061 Patents

differ. In no uncertain terms, they state that the ’925 Patent’s invention “is considerably different”

from the ’061 Patent, and that the two patents describe two distinct approaches to solving two

different problems in computerized speech recognition. (Col. 7:12).

VIII. OBVIOUSNESS-DOUBLE TYPE PATENTING ANALYSIS

       A.      Claim 1 of the ’925 Patent Compared With Claim 6 of the ’061 Patent.
       69.     As noted above, ODP is determined on a claim-by-claim basis. It involves a two-

step process. First, the claim terms are construed and compared, so any differences may be

identified. Second, those differences are evaluated to determine whether the later claim (e.g., ’925

Patent claim 1) is an obvious variant of the earlier (“reference”) claim (e.g., ’061 Patent claim 6).

This process involves a comparison of both the individual claim terms, and the claim as a whole.

       70.     I understand that Omilia has argued that ’061 Patent claim 6 is the reference claim.

I note that claim 6 depends from claim 5, which in turn depends from claim 4, which in turn

depends from claim 2, which in turn depends from claim 1. Accordingly, what Omilia refers to as

“claim 6” includes all the limitations of claims 1, 2, 4, 5 and 6.

       71.     I have reviewed Dr. Cohen’s declaration. Although he identifies a number of terms

in ’925 Patent claim 1 that he opines are “the same as” (or some variant of that wording)

differently-worded terms in ’061 Patent claim 6, he does not actually proffer constructions of any

of those terms from either patent. Nor does he employ the claim construction methodology that

has been explained to me and set forth above.           Nonetheless as I understand Dr. Cohen’s



                                                  19
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 20 of 60




declaration, it appears to be his opinion that there are no differences between these two claims.

Consequently, I have been unable to locate in his declaration any analysis of whether ’925 Patent

claim 1’s differences are merely obvious variants of terms found in ’061 Patent claim 1. Nor have

I located any analysis in his declaration of the differences between the claims as a whole.

       72.     In his declaration, at paragraph 40, Dr. Cohen provides a color-coded side-by-side

comparison of the two claims. Notwithstanding his color-coding scheme, Dr. Cohen’s term-by-

term comparisons are not readily apparent from this diagram. Nor is it readily apparent from either

his diagram or his ensuing analysis that he has “used” several claim terms multiple times.

       73.     Accordingly, I have prepared a modified version of his chart, with lines connecting

the terms according to Dr. Cohen’s argument.3




3
  An additional difference is that I have placed the ’061 Patent, the older, reference, patent on the
left, and the ’925 Patent on the right.


                                                 20
Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 21 of 60




                               21
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 22 of 60




       74.     I disagree with Dr. Cohen’s analysis.

       75.     I have compared claim 6 of the ’061 Patent and claim 1 of the ’925 Patent to identify

the differences between the claims, and to determine whether the differences render claim 1 of the

’925 Patent patentably distinct from the ’061 Patent. It is my opinion that claim 1 of the ’925

Patent is directed to a distinctly different method of developing a second speech recognizer from

claim 6 of the ’061 patent. That is, the claim limitations are different in kind and claim 1 of the

’925 Patent is not an obvious variant of claim 6 of the ’061 Patent.

       B.      Step One: Differences Between Claim 6 of the ’061 Patent and Claim 1 of the
               ’925 Patent.
       76.     One might mistakenly conclude that the ’061 and ’925 Patents cover the same

concepts or inventions based on first glance similarities, such as the references to generating a

second speech recognizer from a first speech recognizer and use of a focused set of training data.

However, such similarities are in fact superficial and only establish the context within which the

two patents’ very different aims and technological improvements are employed. There are other

similarities as well, none of which undermine the difference between the two patents’ inventions.

Both patents operate on speech recognizers which are described as using Hidden Markov Models.

But as each patent points out, Hidden Markov Models are a commonly used speech recognition

technique (and were particularly popular at the time of the inventions). This is supported by

Omilia’s expert. Both patents reference IBM’s ViaVoice recognizer as a test platform, but as the

work for both patents was performed at IBM, this should be no surprise. Both patents have similar

descriptions of the state of the art, but this is simply a statement of fact and the inventors’

knowledge at the time.

       77.     Based on a plain reading of claim 1 of the ’925 Patent, it is clear that the key claim

terms are not mentioned in claim 6 of the ’061 Patent. Dr. Cohen argues, however, that any

differences in the claims are non-substantive wording variations such that even though there is

variation in the claim limitations, the limitations should be excluded from step two of the

obviousness-type double patenting analysis. Specifically, he argues that the claim limitations of


                                                22
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 23 of 60




claim 1 of the ’925 Patent are broader claim terms (genus) that incorporate claim elements of claim

6 of the ’061 Patent (species). I disagree with Dr. Cohen’s analysis, and in particular with his

analysis of several different claim terms that he concludes are purely “semantic.”

       78.     Below I have identified the clauses and terms of the ’925 Patent of claim 1 that I

believe are different from reference claim 6 of the ’061 Patent, and have explained why a POSITA

would conclude the claims are different, and why I disagree with Dr. Cohen’s arguments.

Furthermore, in view of the requirement that the claims must also be considered as a whole, I have

considered the clauses and terms of claim 6 of the ’061 Patent that do not appear, and thus, are

different from, the claims of the ’925 Patent.

       79.     I further note that because Dr. Cohen has not proffered constructions for any of the

claim terms identified in his analysis, there are no claim constructions for me to respond to in

connection with step one of the ODP analysis. Instead, I have based my analysis below on my

understanding of how the various claim terms would be understood by a POSITA in the context

of the claims, and I explain the differences in that light.

               1.      “said first speech recognizer comprising a first acoustic model with a
                       first decision network and corresponding first phonetic contexts” (blue)
                       [Cohen Decl. § VIII.C.2]

             Claim 6 of ’061 Patent                            Claim 1 of ’925 Patent

 wherein the first speech recognizer includes a said first speech recognizer comprising a first
 set of states and a set of probability density acoustic model with a first decision network
 functions assembling output probabilities for and corresponding first phonetic contexts
 an observation of a speech frame in the states,

       80.     Claim 1 of the ’925 Patent claims a speech recognizer that comprises a “first

acoustic model with a first decision network and corresponding first phonetic contexts.” Claim 6

of the ’061 Patent claims a speech recognizer that includes “a set of states and a set of probability

functions assembling output probabilities for an observation of a speech frame in the states.” The

decision network of the ’925 Patent operates at the level of the phonetic structure of a language:

how phonemes combine and their relative frequencies for partitioning training data. The ’061


                                                  23
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 24 of 60




Patent is directed toward two specific aspects of a computational model for analyzing the acoustic,

or sound, structure of speech.

       81.     A POSITA would understand that these claims are directed to different components

of a speech recognizer. The wording of the ’925 Patent claim 1 is taken directly from the

specification (col. 2:34-36). As I described above, a decision network (in the context of an acoustic

model) can be implemented as a tree-like structure with nodes and branches. In the preferred

embodiment in the specification, each node constitutes a question about phonemic context, for the

sake of sorting acoustic data (frames) in training data into an optimal arrangement of bins to train

the computational component which will ultimately be used to recognize new speech, after training

is complete. The specification describes this as “. . . the identification of relevant acoustic contexts

(i.e. phonetic contexts that produce significantly different acoustic feature vectors) is achieved

through the construction of a binary decision network by means of an iterative split-and-merge

procedure. The outcome of this bootstrap procedure is a domain independent general speech

recognizer.” (Col. 7:41-47). As further elaborated in the ’925 Patent specification, a “split-and-

merge procedure” allows the tree to be split (a node divided into multiple nodes) or merged (two

nodes combined into one) as needed to maintain a good balance of how much of the training

acoustic data goes to the right or left side at the node, depending on the yes or no answer to the
question. (A decision tree is considered to be well balanced when the probabilities of the right or

left branches for each node are approximately equal; a decision tree with well-balanced and

distributed probabilities will tend to produce more accurate results than one where a high

percentage of speech samples travel through just a concentrated subset of the nodes and branches).

“A similar criterion is applied to merge nodes that represent only a small number of feature

vectors” (col. 5:1-2). The decision tree can be used to sort the training data into “leaf nodes” (i.e.,

the terminal nodes at the ends of the branches of the decision tree) which can then be used to train

the acoustic portion of the recognizer. “The process stops if a predefined number of leaves is

created. All phonetic contexts associated with a leaf cannot be distinguished by the sequence of

phone questions that has been asked during the construction of the network, and thus are members


                                                  24
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 25 of 60




of the same equivalence class” (col. 5:6-10). So it can be seen that the decision network includes

a mechanism to specify a set of phonetic contexts (based on the number of nodes produced in the

split-and-merge process) and sort training data into collections for each of those contexts. This is

one process for re-estimating the phonetic contexts where the nodes are not fixed. Once the

training data is sorted to understand the resulting phonetic contexts, it can then be used to generate

components that will later be used to actually recognize speech, including possibly Hidden Markov

Models.

       82.     The corresponding limitation of ’061 Patent claim 6 (according to Omilia’s

argument) recites “a set of states and a set of probability density functions assembling output

probabilities for an observation of a speech frame in the states.” This claim limitation thus includes

states and probability density functions, where the probability density functions relate to outputs

produced by the states, where those outputs are used in conjunction with (“observation”) speech

(frame) data. Although this is not limited to HMMs, HMMs are used in the specification to

illustrate the claimed terms. “A Hidden Markov Model is a stochastic automaton… that operates

on a finite set of states… and allows for the observation of an output each time… a state is

occupied” (’061 Patent 3:18-21). This refers to the process of performing speech recognition.

Recall that HMMs are used to classify input speech into its constituent phonemes by determining,
on a frame by frame basis, which HMM would have been most likely to have produced acoustic

features most similar to the speech. Further, note that this is a time-driven state model; each HMM

represents one moment of time and the model is operated frame by frame (a stochastic automaton)

on the input speech.

       83.     The claim additionally recites probability density functions. These PDFs quantify

how likely it is that a given state would produce a particular set of acoustic features. “For any given

HMM state, the unknown distribution of the feature vectors is approximated by a mixture of

(usually Gaussian) elementary probability density functions (PDFs).” (Col. 3:37-39).

       84.     In short, the elements of claim 6 of the ’061 Patent describe components which

actively perform speech recognition, using a method in which states map to acoustic features


                                                  25
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 26 of 60




through particular probabilistic techniques, and the mapped features are compared to observed

features of input speech, using the phonetic contexts that are available.

       85.     The decision tree disclosed in claim 1 of the ’925 Patent is a technique used in

connection with generating a recognizer, sorting transcribed audio training data by recalculating a

decision network that includes a tree-like structure automatically, using the phonetic context of the

training data to determine how to cluster the data into distinctly recognizable sounds which are of

phonetic significance. The states and PDFs from the supposedly corresponding claim 6 of the ’061

Patent are aspects of a computational technique to model the acoustics of different speech sounds

in order to be able to identify those sounds later, while analyzing unknown speech input during

recognition.

       86.     It is readily apparent that the two concepts in claim 1 and reference claim 6 are

disjoint aspects of a speech recognizer. In the preferred embodiment, the ’925 Patent calls out

components which are used to produce a recognizer through analysis recognizing and partitioning

of phonemic contexts, both to identify a relevant set of such contexts, as well as to cluster training

data for recognizing them. The ’061 Patent calls out a particular form of performing speech

recognition—analyzing acoustic data—using well known state and probability based methods

which can be used during the actual recognition process, by associating those states with acoustic
features to be compared with the input features. The recognizer described in the ’925 Patent may

typically also include HMMs similar to the ’061 Patent, but these are not called out as features

which distinguish the claim. Similarly, a recognizer of the ’061 Patent might have used decision

trees to initially determine which HMMs to instantiate in making up the set of states and PDFs,

but that is not part of the invention as claimed.

       87.     Dr. Cohen argues that the claimed “set of states” of the ’061 Patent and their

corresponding probability density functions correspond to the terminal “nodes” in the “decision

network” claimed in the ’925 Patent. Cohen ¶ 42. Dr. Cohen argues the ’061 Patent at 4:16-19,

4:48-53 describes states as the terminal/leaf nodes of a binary decision network. However, these

passages do not equate “states” with “nodes” of a decision network, and a POSITA would not


                                                    26
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 27 of 60




understand those terms to equate to each other. Rather, these passages illustrate how the decision

network can be used to determine which phonetic contexts should be modelled (to adequately

differentiate the samples in the training data), wherein each leaf node of the decision tree will be

used to generate the related HMM. The leaf node represents part of a tree, used in one phase of

operation, and the HMM represents a model which could produce acoustic data for that leaf node,

in another phase of operation. Thus, a POSITA reading that passage would understand that the

claims are directed to, on the one hand (’925 Patent), generating a recognizer by invoking the

technique originally used to build the recognizer based on phonetic information, and on the other

(’061 Patent), to simplify a recognizer, once already built, by simply removing portions based only

on acoustic information.

       88.     This distinction is further borne out by the terms of the ’061 Patent claim itself.

There are states and probability density functions, which together can produce as output a speech

frame (to be compared to the input speech frame). The states of HMMs have probability density

functions (PDFs). PDFs describe a probabilistic output, such as “it’s mostly like this, but could be

a little like that, and is highly unlikely to be that other thing.” Decision trees, however, are binary;

a decision network is built so that each node in the decision tree asks a “yes”/“no” question about

the observed acoustic frame, in order to determine a set of terminal nodes which will properly span
the training set of acoustic frames. Decision tree nodes have no PDFs, and therefore, the decision

tree nodes cannot be the claimed states.

       89.     As discussed above, the states of a model are operated in a discrete time sequence

(hence the term, “state”) to correspond to a series of input speech frames. This is why the ’061

Patent refers to them as an “automaton” at col. 3:18. The nodes of the ’925 Patent represent a

logical structure which expresses how phonemes combine in a language (at least as evidenced by

the training data). A “node” is well known in networking and graph theory as the junction of

multiple links (the decision network’s branches). A POSITA reading the specifications would not

confuse “state” and “node” as referring to the same entity, and would not read the two claims as

describing the same invention.


                                                  27
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 28 of 60




       90.     Dr. Cohen argues the ’061 Patent describes an acoustic model in terms of

mathematical elements (“set of states” and “set of probability functions”) that comprise that model,

while the ’925 Patent describes the phonetic structure of an acoustic model as abstract structures

(“decision network with corresponding phonetic context”). Cohen ¶ 47. This argument seems to

rest on the idea that the “mathematical” elements of the one and “structure” elements of the other

are identical because they constitute alternate ways of expressing the same underlying model.

Such a superficial analysis might lead to the conclusion that all speech recognizers are the same

thing, in that they model some aspect of an underlying human language. But this fails to account

for the detailed technical solutions espoused by each of the patents and their very different methods

as set out in the two patents’ claims. Moreover, such a perspective does not preclude appreciating

that the two patents describe distinct aspects of speech recognition—and the claim terms used in

the ’061 Patent simply are distinct from the claim terms used in the ’925 Patent. To the extent

they model aspects of human speech, the decision network models how phonemes combine into

phonetic contexts for the language, while the states and PDFs model how those combinations

might sound. One represents the cognitive aspects of how words are put together from underlying

sounds, while the other represents the range of sounds the human vocal tract can produce to

communicate those combinations.
       91.     At paragraph 48, Dr. Cohen is not offering a comparison of the claim language, but

generally describes the state of the art of a “typical large vocabulary speech recognizer” that

utilizes HMMs. What such recognizers may possess in common is beside the point of what the

differences (described above, for example) are between what is specifically claimed by the actual

language used in the reference claim and the ’925 Patent.

       92.     Similarly, at paragraph 49, Dr. Cohen’s argument generally about the use of an

acoustic model to observe speech sounds also has no bearing on the differences between what is

claimed in the two patents. The ’925 Patent describes a specific method of generating a second

acoustic model from a first acoustic model that may start with a general purpose, large vocabulary

speech recognizer, and by adding only a modest amount of additional specialized training data


                                                 28
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 29 of 60




(“adaptation data,” see col. 2:56) to the initial dataset, is able to efficiently provide an augmented

speech recognizer by using the new training data to determine new phonetic contexts. The re-

estimation process may result in new nodes of the decision tree, including terminal nodes, thus

affecting how the acoustic model functions once it is deployed.

       93.     Further, the logic that a decision network and states with probabilities must be the

same because they both rely on the same “acoustic model” is factually incorrect. As I said above,

the decision network includes functionality that models how phonemes combine into phonemic

contexts, i.e. the fundamental phonemic structure of the language and the words which constitute

it. The states (such as HMM states) model the sounds of the language, i.e., acoustic features which

are produced by the vocal tract.

       94.     At paragraph 50, Dr. Cohen describes “nodes” of a decision tree and proposes that

these correspond to states of HMMs. However, nodes are not a set of states. The decision network

has a number of nodes, some but only a minority of which will be the resulting terminal nodes;

these nodes represent the phonetic structure of the language. As discussed above, a decision tree

will ultimately end in a series of terminal nodes (or “leaf nodes”), from which there is no further

branching. While these terminal nodes (not all nodes) certainly correspond to HMMs (states and

PDFs) useful for speech recognition, that does not make them the same, for all the reasons
discussed above.

       95.     Paragraph 51 begins with a correct description of the squeezing process of the ’061

Patent, but then the analysis misrepresents the role of the squeezed HMMs in order to claim

similarity with decision networks. But there is no such similarity between squeezed HMMs and

decision networks. Dr. Cohen opines that claim 6 claims a binary decision network, but this

concept is never claimed in the ’061 Patent. As I discussed in the previous paragraph, the presence

of HMMs, which correspond to some of the terminal nodes of the decision tree, does not equate

HMM states with decision tree nodes. Finally, Dr. Cohen states “These (PDF) functions represent

the probability at each stage in the decision network and show the relationship between

neighboring nodes…” This is factually incorrect on three counts. First, the PDF functions


                                                 29
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 30 of 60




associated with each HMM state represent probabilities that a particular set of acoustic feature

values would be produced by the state, and has nothing to do with the decision network with

corresponding phonetic contexts. Second, the decision network does not have probabilities

associated with the nodes; they are binary. Third, the PDFs of one HMM are independent of any

other HMM, and hence can bear no evidence to the relationship with any neighboring node.

       96.     At paragraph 52, Dr. Cohen relies on col. 4:48-51 of the ’061 Patent to conclude

that the patent “defines” a set of states as context dependent word units, i.e. phones in context. He

cites a passage from the ’061 Patent’s specification, which states, “the present invention suggests

a reduction of the size of the acoustic model, i.e., both the number of acoustic subword unit HMMs,

like, e.g. context dependent phone or triphone models, and the number of elementary PDFs for the

output probabilities of these HMMs.” Col. 4:48-53. This passage from the specification is simply

not definitional; it does not purport to define the meaning of “set of states.” At most, it only

indicates that HMMs may be built for each phone in context. A phone in context is, for example,

“the t between i and l as in “little”. An HMM can express what that “t” sounds like.

       97.     He further relies on col. 4:20-23 of the ’925 Patent to conclude that the set of states

necessarily includes the phone context for each state. When he says “each terminal node (i.e.

state)” he is expressing his opinion that nodes and states are the same, but I disagree for all the
reasons stated above. The cited passage of the ’925 Patent provides “Since it is well known that

speech sounds vary significantly with respect to different acoustic contexts, HMMs (or HMM

states) usually represent context dependent acoustic sub-word units.” Col. 4:20-23. Remembering

that an HMM is a mathematical construct used in speech recognition, and the pre-processing of

the decision tree has identified which phonetic contexts are important enough to be modeled by an

HMM, we can see that there is a clear relationship between the phonetic contexts classified by the

decision tree and the HMM. In fact, that relationship is that the HMM represents what that

phoneme in context sounds like. But it does not define the context as part of the phonemic structure

of the language, as the decision tree does.




                                                 30
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 31 of 60




       98.     Finally, Dr. Cohen wrongly concludes that a POSITA would recognize that the “set

of states” corresponds to a first decision network, but despite the correspondence between the

states and the terminal nodes (only) of the decision network, this conclusion is fundamentally

incorrect. The two aspects, set of states and decision network, are different components of the

recognizer with different computational function. As such they represent different aspects of

language (phonemic structure versus acoustic realization), and are used in different phases of

recognition entirely (generating the recognizer from training data versus actually recognizing

spoken speech), and employ terminology of the art (nodes in a network versus states in an

automaton) which are fundamentally different operationally and conceptually.

               2.      “based on said first acoustic model, generating a second acoustic model
                       with a second decision network and corresponding second phonetic
                       contexts for said second speech recognizer by re-estimating said first
                       decision network and said corresponding first phonetic contexts”
                       (green) [Cohen Decl. § VIII.C.4]

              Claim 6 of ’061 Patent                             Claim 1 of ’925 Patent
 generating, from the set of states of the first      based on said first acoustic model, generating
 speech recognizer, a set of states of the second     a second acoustic model with a second
 speech recognizer by selecting a subset of           decision network and corresponding second
 states of the first speech recognizer . . . and      phonetic contexts for said second speech
 generating, from the set of probability density      recognizer by re-estimating said first decision
 functions of the first speech recognizer, a set of   network and said corresponding first phonetic
 probability density functions of the second          contexts
 speech recognizer by selecting a subset of
 probability density functions of the first speech
 recognizer being distinctive of the particular
 application, such that the second speech
 recognizer is at least one tailored to the
 particular application and requires reduced
 resources compared to the first speech
 recognizer.
       99.     The two claim limitations are directed to “generating” very different components

of a speech recognizer. The cited limitation of the ’061 Patent is directed to “generating … a set

of states of the second speech recognizer” and “generating … a set of probability density functions

of the second speech recognizer.” By contrast, the cited limitation of the ’925 Patent is directed



                                                  31
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 32 of 60




to “generating a second acoustic model with a second decision network and corresponding second

phonetic contexts.” These are very different. The first decision network and corresponding first

phonetic contexts are not states. Phonetic contexts are groupings of phonemes in the context of

their neighbors, and the decision tree determines the number of such groupings and how to sort

the training data into clusters. States represent Hidden Markov Models, computational constructs

to generate sounds with particular acoustic features, which features are compared to actual input

speech during recognition. Dr. Cohen’s opinion rests on the faulty premise that phonetic contexts

can be equated with such acoustic models. See, e.g., Cohen Decl. ¶¶ 58, 59.

       100.    Moreover, the methods of “generating” specified in the two patents are very

different. The ’061 Patent is directed to “selecting a subset” of states and PDFs from the first

speech recognizer. By contrast, the ’925 Patent is directed to “re-estimating said first decision

network and said corresponding first phonetic contexts.” Again, these are quite distinct. The fact

that the ’061 Patent requires a reduction in resources (per the claim language) for the second

recognizer exemplifies the differences between claim 1 and claim 6; the ’925 Patent re-estimates

the decision network for the sake of improving recognition by enhancing performance or extending

its scope, while the ’061 Patent merely deletes other information (HMM states and corresponding

PDFs) in order to shrink the recognizer while maintaining adequate performance.
       101.    Dr. Cohen mistakenly argues the re-estimation of claim 1 covers “adaptation”

claimed by claim 6 which is the “selecting” element of claim 6. Cohen ¶ 58. The word

“adaptation” does not even appear in claim 6. What does appear is “selecting a subset of states”.

It is clear from the specification of the ’925 Patent that its claimed “re-estimation” involves

recalculating the decision network in view of the new training data. This is so clearly different

from “selecting a subset” that there is no comparison, which perhaps explains Dr. Cohen’s reliance

on the unclaimed concept of “adaptation” to complete his argument.

       102.    In what should take precedence over disagreement between myself and Dr. Cohen,

the authors of the ’925 Patent themselves explicitly declare that the two claim elements compared




                                               32
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 33 of 60




here are completely distinct. The ’925 Patent states that “[t]his is considerably different from just

“selecting” a subset of a decision network or “enhancing” the decision network:

               Orthogonally to these previous approaches, the present invention

               focuses on the re-estimation of phonetic contexts, or—in other

               words—the adaptation of the recognizer's sub-word inventory to a

               special domain. Whereas in any speaker adaptation algorithm, as

               well as in the above mentioned documents of V. Fischer et al., the

               phonetic contexts once estimated by the training procedure are

               fixed, the present invention utilizes a small amount of upfront

               training data for the domain specific insertion, deletion, or

               adaptation of phones in their respective context. Thus re-estimation

               of the phonetic contexts refers to a (complete) recalculation of the

               decision network and its corresponding phonetic contexts based on

               the general speech recognizer decision network. This is

               considerably different from just “selecting” a subset of the general

               speech recognizer decision network and phonetic contexts or simply

               “enhancing” the decision network by making a leaf node an interior
               node by attaching a new sub-tree with new leaf nodes and further

               phonetic contexts. (Col. 6:66 - 7:17, emphasis added).

       Note the use of the word “orthogonally”. To one as steeped in probability theory as the

inventors, “orthogonal” means “completely independent” or “one having no bearing on the other.”

The inventors were obviously aware of the techniques and limitations of each of their patents, and

make it abundantly clear that they are not at all the same.

       103.    Thus, the ’925 Patent specification excludes processes that merely add nodes

(attaching a new sub-tree), or selecting a subset, i.e., deleting the nodes outside of the subset,

without recalculating the decision network and its corresponding phonetic contexts. Thus even if




                                                 33
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 34 of 60




the HMM “states” of the ’061 Patent corresponded to the “nodes” of the ’925 Patent, the

“generating” of each is quite distinct.

       104.    Dr. Cohen further argues that “re-estimation” of the ’925 Patent may be

accomplished by adding, deleting, or modifying phones in their respective context in the decision

network. Cohen ¶ 41. I disagree. Dr. Cohen cites to a passage from the ’925 Patent col. 7:2-12

out of context (Cohen ¶ 62), but it is clear when that passage is read in context of the entire

paragraph that re-estimation refers to a “recalculation of the decision network and its

corresponding phonetic contexts based on the general speech recognizer decision network.” Thus,

as outlined above, the ’925 Patent distinguishes itself from the selecting procedures discussed in

the ’061 Patent. Although a re-estimation of the decision network and its corresponding phonetic

contexts may result in the number of nodes changing, merely cutting down the number of nodes

in itself does not constitute re-estimation. The two claims explicitly describe distinct methods of

changing the recognizer.

       105.    Furthermore, in prosecution of the ’061 Patent, the inventors made explicit

statements that re-estimation and pruning are distinct, in successfully overcoming the Examiner’s

rejection based on Bahl. “Reestimating is not synonymous to pruning, as the Examiner suggests.

Instead, reestimation is a separate and distinct function that can be performed to improve the

recognition accuracy caused by pruning, since pruning typically creates a coarser approximation

of the feature space for a given class…” Exhibit B (’061 Patent File History, 12/23/2003 Resp. to

Office Action, underlining original).

       106.    Building on his misconception of what re-estimation means, Dr. Cohen concludes

that because claim 6 results in a deletion of states (which he mistakenly claims correspond to

nodes) the method is disclosed and included in the re-estimation process described in the ’925

Patent. Cohen ¶ 61. I disagree. While the re-estimation process could result in terminal nodes

being deleted, as well as other side effects, re-estimation is simply not adding or deleting nodes

(either terminal or interior), but rather generates the recognizer, given the new adaptation data;

“the limited, i.e. small, amount of adaptive (training) data suffices to generate the adapted speech


                                                34
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 35 of 60




recognizer” (Col. 8:33-37). The method of the ’061 Patent could be applied only later, after the

re-estimation has been performed, as illustrated by ’925 Patent claim 7. The ’925 Patent describes

a specific method of recognizing phonetic contexts that may have been under-weighted or even

not have been originally present in the generalized speech recognizer, and then builds the resulting

HMMs and determines their output probabilities, based on the new classification of feature vectors

associated with leaf nodes. “The computation of an initial estimate for the state output probabilities

…has to consider both the history of the context adaptation process and the acoustic feature vectors

associated with each terminal node of the adapted networks.” (Col. 8:44-48). In particular, note

that the re-estimation takes into account both the original training data (which is carried forward

in the phonetic contexts) and the new adaptation data. The ’061 Patent can delete states and PDFs,

but that is all it can do, and it can do these limited tasks based only on observing which HMMs

actually contribute to recognition success given new adaptation data only.

       107.    In addition, the distinction between the two methods is explicitly stated in the ’925

Patent when it points out that after the execution of the ’925 Patent process, the ’061 Patent process

could then be applied. The ’061 Patent process can be used in addition to and after the procedure

of the ’925 Patent, by re-using the adaptation data (which could be the same adaptation training

data as in the ’061 Patent) to squeeze HMM states. (Col. 8:58-9:3). This distinction by the
inventors is further indication that the two techniques are disjoint. First, the decision tree models

the phonetic structure of a language – which phonemes it uses, how they can be combined, and

which ones sound similar based on which neighboring context. Importantly, in the process it does

not simply list every phonetic context, but also groups them into ones that sound similar, perhaps

even similar enough (the described equivalence classes) that there is no point in trying to

distinguish them. Only then can the computational acoustic model of the HMMs be built, and, as

stated, that model could be further squeezed.

       108.    Further, the fact that the number of nodes is not fixed in claim 1 would not lead a

POSITA to conclude that any procedure that results in a changing of nodes satisfies the re-

estimation procedure of the ’925 Patent. Instead, is POSITA would conclude that the ’925 Patent


                                                 35
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 36 of 60




claims a re-estimation process could recognize additional phonetic contexts, and could change

what phonetic contexts are represented by what terminal nodes.              The ’061 Patent cannot

accomplish either of these because although the HMMs may correspond to individual phonetic

contexts, the information to arrive at those contexts has been lost, and so can play no role in the

process claimed by the ’061 Patent.

               3.      “based on domain-specific training data” (purple) [Cohen Decl. §
                       VIII.C.5]

             Claim 6 of ’061 Patent                         Claim 1 of ’925 Patent
 wherein selecting at least one of the subset of based on domain-specific training data,
 states and the subset of probability density
 functions of the first speech recognizer
 exploits application specific training data.
       109.    Dr. Cohen argues that because the claims both use training data, the claim language

is somehow “semantics and nothing more.” (Cohen Decl. ¶ 63). While both claim 6 and claim 1

use training data, the types of data are different and the claims use it to accomplish different things.

In the ’925 Patent (col. 7:33-35) the data consists of acoustic frames, which are labeled

(transcribed) either manually or automatically. As described in the ’925 Patent, training data is

labeled, because the data is used to re-estimate the first decision network, for which each node

asks yes/no questions based on knowing the preceding and following phonemes (i.e., phonetic

context). There is no need to consult the acoustic data to make such decisions, although the

acoustic data will be clustered in the process. In the ’061 Patent (col. 6:12-15) the training data is

just acoustic frames, which are associated with the particular HMM states by essentially

performing recognition and keeping track of the states which produce the leading recognition

candidates; this is what is referred to as “Viterbi aligning”.

       110.    In short, the data of the ’925 Patent is primarily phonetic labeling of speech frames

(to be associated with decision tree nodes), while the data of the ’061 Patent is the actual acoustic

contents of those frames (to be associated with the HMM states). Why are the labels in the ’925

Patent associated with frames at all? The answer is that the relative numbers (not contents) of the



                                                  36
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 37 of 60




frames help the tree calculation process (split and merge) determine how many nodes, both interior

and leaf, are required to decide which questions should be asked to obtain a good spread of the

data across leaf nodes. But, as the ’925 Patent notes, as long as the acoustic frames are being used

in this way, they can also be employed to perform the squeezing of the ’061 Patent once this

process is finished. The fact that this is a two-step process clarifies the distinction between how

and which data is used in each patent.

       111.    As explained in the specification of the ’925 Patent, after the method of the ’925

Patent is performed, the ’061 Patent may be further applied to optimize the speech recognizer.

               Following the above mentioned teaching of V. Fischer et al.,

               “Method and System for Generating Squeezed Acoustic Models for

               Specialized Speech Recognizer”, European patent application EP

               99116684.4, the adaptation data may also be used for a pruning

               of Gaussians in order to reduce memory footprints and CPU

               time. The teaching of this reference with respect to selecting a

               subset of HMM states of the general purpose speech recognizer for

               use as a starting point (“Squeezing”) and the teaching with respect

               to selecting a subset of probability-density-functions (PDFs) of the
               general purpose speech recognizer for use as a starting point

               (“Pruning”), both of which are distinctive of the specific domain,

               are incorporated herein by reference.

       112.    Indeed, this is precisely what is claimed in ’925 Patent claim 7. The operations

claimed in claim 7 correspond to the operations claimed in the ’061 Patent. Accordingly, based

on fundamental principles of claim construction, because the additional limitation claimed in

dependent claim 7 covers the functionality described in the ’061 Patent, that functionality cannot

be what is covered by the limitations in independent claim 1 of the ’925 Patent.




                                                37
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 38 of 60




               4.      “wherein said first decision network and said second decision network
                       utilize a phonetic decision [t]ree to perform speech recognition
                       operations” (blue) [Cohen Decl. § VIII.C.6]

              Claim 6 of ’061 Patent                            Claim 1 of ’925 Patent

 wherein the first speech recognizer includes a     wherein said first decision network and said
 set of states and a set of probability density     second decision network utilize a phonetic
 functions assembling output probabilities for      decision [t]ree to perform speech recognition
 an observation of a speech frame in the states,    operations

       113.    Based on the claim language above, Dr. Cohen concludes that the recognizers from

both patents use the “same” structure to recognize speech. (Cohen Decl. ¶¶ 41, 64-65 (citing ¶ 47-

53)). I have already described at length the difference between “states” and “network” (as in

phonetic decision network). See, e.g., supra ¶¶ 47-53. The network determines its leaf nodes, and

these in turn cluster acoustic training data frames. From these acoustic frames, HMMs (the

“states”) can be derived computationally. This does not make them the “same structure”. This

basic logical fallacy is illustrated where Dr. Cohen states “The ‘set of states’ in the ’061 Patent is

from a decision network that includes, by virtue of its structure, the relationship between a state

and its neighboring states. Thus the set of states is a decision network…” (Cohen Decl. ¶65,

emphasis added). Because the states are derived from a decision network does not imply that the

states are the decision network. Paragraphs 66-70 merely reiterate this fallacy.

       114.    Dr. Cohen relies on the “bootstrap” procedure disclosed in the specification of the

’061 Patent in support of his argument that a POSITA would understand that a state is referring to

a binary decision network. (Cohen Decl. ¶ 66). I disagree. The cited paragraph from the patent

is clearly not calling out such an equivalence. Rather, it explicitly states that the binary decision

network “separates the phonetic contexts into a pre-defined number of equivalence classes”. It is

used for a process, of separating, and in the process gathers the acoustic feature frames into

clusters. When the patent discusses a leaf node “defining” an HMM, this does not mean that the

acoustic frames at the leaf node are already an HMM; instead one must be built based on that

acoustic evidence. This bootstrap process is described in greater detail in the ’925 Patent (if the



                                                 38
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 39 of 60




two patents really do describe the same recognizer, then the bootstrap process would also be

identical), in describing the leaf nodes: “Therefore the corresponding feature vectors are

considered to be homogeneous and are associated with a context dependent, single state,

continuous density HMM, who’s output probability is described by a gaussian (sic) mixture model

(eq. 4). Initial estimates for the mixture components are obtained by clustering the feature vectors

at each terminal node, and finally the forward-backward algorithm known in the state of the art is

used to refine the mixture component parameters.” (’925 Patent col. 5:10-19, emphasis added).

So, yes, the HMM “states” are related to the decision network leaf nodes, but by virtue of being

derived from data at the leaf nodes. There is no equivalence.

       115.    Although Dr. Cohen describes similarities in structures of the recognizers in both

patents in ¶ 67-68, this is actually revealing of distinctions between the two. Both patents include

decision trees and HMM states. That the ’925 Patent discusses and claims on the network while

the ’061 Patent discusses and claims on the states only shows to a POSITA that the inventions and

claims are distinct. I have read Dr. Cohen’s argument, that the states and networks are essentially

the same thing, and a POSITA would not agree because the consistency in how the two patents

refer to HMM states and decision trees or networks supports the conclusion that the terms refer to

different things.
       116.    Furthermore, the last sentence of ¶ 67 makes a totally unfounded jump that the

HMMs of the ’061 Patent are organized into a tree structure. There is no evidence to support this,

and HMMs are not in fact deployed in or representative of a tree structure. This is simple factual

error. Indeed, as ’925 Patent claim 6 expressly states, HMMs may be “associated with” leaf nodes,

but are not themselves nodes in a decision tree.

       117.    A similar leap of logic is required by ¶ 68, that if the states of the ’061 Patent are

used to recognize speech (which is true) then the leaf nodes of the tree also must necessarily be

used to recognize speech (which is false). The leaf nodes do not recognize speech. A POSITA at

the time of the invention would know and understand this; thus, a POSITA would understand that

the decision networks utilize the decision tree as discussed throughout my declaration to perform


                                                   39
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 40 of 60




speech recognition operations by determining the optimal way to cluster phonetic contexts, not

that the leaf nodes are recognizing speech as Dr. Cohen mistakenly claims. HMMs derived from

the acoustic features which are collected at the leaf nodes recognize speech.

       118.    The same error, about structure for derivation versus structure of the HMM states

continues in ¶ 69. Again, the decision network contains nodes with corresponding phonetic

contexts. The states, for which there may be one per leaf node, are not the nodes but rather derived

from the nodes, and do not carry the structure of the decision network. Pointing out some

similarities between the discussions in the two patents does not show that they in any way claim

the same invention, or a subset of that invention.

       119.    Dr. Cohen’s analysis relies on equating the “set of states” of the ’061 Patent with

the “decision tree” of the ’925 Patent. For example, he opines that “[t]hese are different terms that

refer to and cover the same subject matter.” (Cohen Decl. ¶ 64; see also Cohen Decl. ¶ 47 (opining

that the patents use “different words to describe these elements”)); (Cohen Decl. ¶ 48 (opining that

“the difference is one of semantics rather than the substance of what the claims cover”)). But Dr.

Cohen’s attempt to re-interpret the two patents is misguided in light of the direct descriptions of

both these components in both the patents.

       120.    The ’061 Patent describes decision trees. It states that a decision tree is: “…a binary
decision network that separates the phonetic contexts into a pre-defined number of equivalence

classes” (col. 4:17-19). The ’061 Patent also discusses states in the context of Hidden Markov

Models (“HMMs”) at length throughout, with a clear description: “A Hidden Markov Model is a

stochastic automaton… that operates on a finite set of states… and allows the observation of an

output each time… a state is occupied” (col. 3:18-22, mathematical notation omitted). There is no

suggestion in the ’061 Patent that “set of states” as used in claim 6 is defined to mean the same

thing as “decision tree” as used in the patent’s specification; accordingly, there is no basis to

assume that the difference between “set of states” in the ’061 Patent and “decision tree” in the ’925

Patent is merely semantic.




                                                 40
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 41 of 60




       121.    Similarly, the ’925 Patent describes a “set of states” or subset of HMM states (col.

3:46, 8:64; claims 7, 20) and a “set of probability density functions” (col. 3:59, 6:64; claims 7, 20).

This usage is fully consistent with the usage of those terms in the ’061 Patent. Similarly, there is

no suggestion in the ’925 Patent that these terms are defined to mean the same thing as “decision

tree.” Indeed, quite the opposite—they are consistently used either in portions of the specification

that distinguish the invention of the ’925 Patent from the prior art, or in dependent claims whose

very existence makes clear that these terms are different from “decision tree” as used in ’925 Patent

claim 1.

       122.    Both patents are written in a technically precise style, complete with mathematical

notation. The inventors of both patents were also accomplished authors of conference and journal

papers, which require technical precision as well. The inventors took care to say precisely what

they meant by these terms: “set of states” and “decision tree.” Both patents discuss both concepts,

and they use the same term consistently in both patents, and also use the different terms in distinct

manners. It is therefore inappropriate to attempt to “explain” how one of these concepts from one

of the patents is really the same (except for “semantics”) as the other concept in the other patent.

The inventors told us what they meant, and quite clearly.

               5.      “wherein the number of nodes in the second decision network is not
                       fixed by the number of nodes in the first decision network,” (green)
                       [Cohen Decl. § VIII.C.7]

           Claim 6 of the ’061 Patent                         Claim 1 of the ’925 Patent

 generating, from the set of states of the first wherein the number of nodes in the second
 speech recognizer, a set of states of the second decision network is not fixed by the number of
 speech recognizer by selecting a subset of nodes in the first decision network
 states of the first speech recognizer . . .
 generating, from the set of probability density
 functions of the first speech recognizer, a set
 of probability density functions of the second
 speech recognizer by selecting a subset of
 probability density functions of the first
 speech recognizer




                                                  41
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 42 of 60




       123.    Dr. Cohen previously asserted that the states of the ’061 Patent are the same as the

decision network of the ’925 Patent, in analyzing the preamble to claim 1 (Cohen Decl. section

VIII.C.2 in general). His analysis on this claim limitation relies on the same logic as earlier, and

is similarly flawed in that the “states” and “decision network” describe different concepts and

components of the recognizer, with the relationship between the two being limited to building an

HMM for each terminal node after the entire process of recalculating the decision network is

complete. Because Dr. Cohen reuses this claimed equivalence here, all my analysis to that

previous claim element applies equally to this pair.

       124.    But the claimed equivalence is further distorted in this analysis, because here Dr.

Cohen is equating the “states” not to the decision network as a whole, but rather to “nodes” within

the network. This stretching of meaning further demonstrates the ill-fit of his states-equals-tree

analysis. These claim limitations put further constraints on the nodes and states, respectively,

derived from the processes by which they are processed by the claimed inventions.

       125.    Dr. Cohen argues that because nodes and states are purportedly the same thing, by

claiming that the nodes in the second recognizer are not fixed by the nodes in the first decision

network in the ’925 Patent this covers states that are deleted in the ’061 Patent, claim 6. I disagree

with him for several reasons. First, nodes are not equal to states for the multiple reasons I have
already discussed. (See supra ¶¶ 113-122). Second, the phonetic contexts and states of the ’061

Patent are fixed by the phonetic contexts and states in the first recognizer. The second speech

recognizer of claim 6 is “a subset of states from the first recognizer…” Thus, the second speech

recognizer can only contain states found in the first speech recognizer. And if the states are

phonetic contexts, as Dr. Cohen argues, the phonetic contexts in the ’061 Patent cannot change;

“…the phonetic contexts once estimated by the training procedure are fixed…” (’925 Patent col.

7:4-5, describing the priority document to the ’061 Patent). The ’925 Patent distinguishes itself

from processes of the ’061 Patent that merely delete nodes; “…the present invention utilizes a

small amount of upfront training data for the domain specific insertion, deletion, or adaptation of

phones in their respective context” (’925 Patent col. 7:5-8). This is because “the procedure uses a


                                                 42
         Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 43 of 60




maximum likelihood criterion to evaluate all possible splits of a node and stops if the thresholds

do not allow a further creation of domain dependent nodes. This way one is able to derive a new,

recalculated set of equivalence classes that can be considered by construction as a domain or

dialect dependent refinement of the original phonetic contexts…” (’925 Patent col. 8:4-10).

         126.   Not only are the number of nodes not fixed, but in reality the decision tree is

recalculated, not simply pruned as in the methods claimed in the’061 Patent. The ’061 Patent does

not recalculate the HMM states, it simply deletes some of them. Further, as described in the

bootstrapping process of the ’061 Patent (col. 4:11-27), the ’061 Patent recognizer already has its

own decision tree, which remains unchanged in the subsequent subsetting. It is inappropriate to

equate states with decision trees when the ’061 Patent has a component which much better matches

the ’925 Patent’s decision trees, i.e., a decision tree. And there is no modification of that decision

tree in the ’061 Patent to correspond to the operations on the ’925 Patent decision tree.

                6.     “and wherein said re-estimating comprises partitioning said training
                       data using said first decision network of said first speech recognizer”
                       (pink) [Cohen Decl. § VIII.C.8]

            Claim 6 of the ’061 Patent                  Claim 1 of the ’925 Patent
 wherein selecting the subset of states and wherein said re-estimating comprises
 comprises associating a multitude of speech partitioning said training data using said first
 frames of the training data with the correct decision network of said first speech
 states of the first speech recognizer        recognizer


         127.   These claim elements point to core differences in the methods of the two patents.

Dr. Cohen brushes aside the differences in these terms as “one of semantics.” (Cohen Decl. ¶ 72).

Calling the difference “semantics” reveals at least a lack of precision in understanding the two

methods, even ignoring the differences between networks and states that I have discussed at length

above.

         128.   In ¶73 Dr. Cohen claims that the “associating” of the ’061 Patent “is the same

process” as “partitioning” in the ’925 Patent, but this is incorrect. The ’061 Patent associates

training frames with HMM states using the Viterbi algorithm. “For that purpose, usage of the


                                                 43
          Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 44 of 60




technique of Viterbi-aligning the speech data against its transcription to tag each speech frame

with its correct leaf id.” (’061 Patent col. 6:12-15). The Viterbi algorithm is the method used for

recognition, and calculates for each HMM the probability that it produced the observed speech

data. In doing so, it can be used to identify which series of HMMs match the input, or adaptation

data. This is logical given the rest of the technique used by the ’061 Patent, which will be to

eliminate HMM states which are not found to be activated given the adaptation data.

          129.   This is not the same as the technique Dr. Cohen brushes past in ¶ 74. The ’925

Patent explains “…each frame’s feature vector is phonetically labelled and stored together with its

phonetic context, which is defined by an arbitrary number of left and/or right neighboring phones.

Subsequently the identification of relevant acoustic contexts (i.e. phonetic contexts that produce

significantly different acoustic feature vectors) is achieved through the construction of a binary

decision network by means of an iterative split-and-merge procedure.” (’925 Patent col. 4:35-46).

As discussed above, the split-and-merge example of re-estimation can separate nodes into subtrees,

or merge nodes (both terminal and interior). And the ’925 Patent goes on to describe this as asking

a series of questions about the phones in the transcription and their positional relationships. Simply

put, this is unrelated in any way to the Viterbi alignment on the HMM states described in the ’061

Patent.
          130.   Finally, claim 6 goes on to read “and selecting those states with a frequency of

occurrence above a threshold as the subset of states.” This process is not used in the ’925 Patent

and there is no parallel operation. The first part of claim 6 recites determining which states are

best fits (would “emit” the most similar sound) to each acoustic frame of speech training data, and

this second part applies a simple threshold test to determine which states should be kept and which

should be discarded. There is no simple threshold test described or implied in the ’925 Patent.

The re-estimation is as described above, an iterative split-and-merge procedure. There is nothing

similar about these, even if the end results produced similar changes in leaf nodes and states (not

that these are the same).




                                                 44
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 45 of 60




       C.      Step Two: Distinctions Between the Claims Render Them Patentably Distinct.
       131.    Because Dr. Cohen argues every claim limitation of claim of the ’925 Patent is the

same as limitations found in claim 6 of the ’061 Patent, he does not perform analysis of the

differences between the claims. However, the differences of the claims I have explained above,

do make claim 1 patentably distinct from claim 6.

       132.    My analysis under Step One above has detailed differences between the ’061 and

’925 Patents, largely couched in rebuttal of Dr. Cohen’s contentions that the ’925 Patent claims a

genus that includes within it the species claimed in the ’061 Patent. In this section I consider the

inventive contribution of the ’925 Patent, specifically around the portions which Dr. Cohen

incorrectly claimed were found in the ’061 Patent.

       133.    The primary contribution of the ’925 Patent is a specific method which allows

efficient augmentation of a speech recognizer with adaptive training data from a particular domain

to produce a new recognizer which is enhanced for that domain, but which also preserves much of

its original capacity as a more general purpose recognizer. As was known in the art at the time,

the first recognizer was built with extensive acoustic training data accompanied by phonemic

transcriptions. The training data is too vast to be of use during recognition, so it must be reduced

to meaningful subsets to represent as acoustic models. The subsets must be properly balanced,

maintaining audible differences on the one hand, and adequately differentiating the phonemes in
context on the other, while covering the full range of meaningful speech sounds. This is achieved

by means of a phonetic context decision network, through processes that ask questions based on

acoustic context in a manner which achieves optimal partitioning, and in the process recalculates

the tree using split-and-merge algorithms, which can add or join nodes at any layer in the tree.

Finally, the leaf nodes contain acoustic training data for each phonetically meaningful and

acoustically distinguishable subset of the training data. The training data can then be modelled,

where the models are used during the recognition process.

       134.    The phonetic context decision tree represents significant knowledge of the

acoustic/phonemic structure of the language, being influenced by the frequency of actual contexts



                                                45
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 46 of 60




encountered in training and their acoustic similarity. Essentially, it is a road map of what sound

differences to pay attention to in order to understand the sounds of input speech as a series of

phonemes.

       135.    A process such as described in the ’061 Patent has no access to that knowledge of

the language, and can operate merely at the level of the sounds after they have been partitioned or

sorted. And in fact all the ’061 Patent can do with those sounds (states) is delete some of them,

by deciding they are no longer relevant based on additional domain specific data. This limitation

is dictated by the fact that the ’061 Patent works only at the level of the acoustic data, and only

with the purpose of making the recognizer smaller, in terms of computation and/or memory

footprint.

       136.    The ’925 Patent is inventive in maintaining the original phonemic structure, so it

can be augmented with additional domain specific training data, but without losing the rich context

of the original phonemic decision tree. Essentially, the additional training data is used to tune the

recognizer to perform especially well for a new domain, while still maintaining performance from

its original, general, scope. The new, focused, training data is fed into the decision tree and is

allowed to further modify it; the number of nodes in the tree is not fixed. This applies not only to

the leaf nodes (which finally represent acoustic classes) but also to any sub-nodes and branches;
the topology of the tree is allowed to change as a function of the new data. This process is referred

to as “re-estimation”.

       137.    The advantage of this process is that the all the knowledge gained from training the

original recognizer, as represented by its decision network, is fully available for augmentation in

the derivation or re-estimation of the new decision tree. And as a result, the new decision tree is

not limited in topology or number of nodes, carrying forward the extensive training of the original

recognizer into the second recognizer. The process in the ’061 Patent is simplistic by comparison,

only allowing for retroactively deleting the acoustic models, absence of knowledge of network

topology.




                                                 46
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 47 of 60




       138.     The value of the process claimed in the ’925 Patent is demonstrated in the

experiment summarized in the table at col. 9:40. The experiment compares the performance of a

specialized digit-only recognizer, built by conventional means, with a “baseline” (general purpose)

recognizer adapted for enhanced digit performance. The performance of these two recognizers is

compared to the baseline recognizer, showing word error rates scaled to that of the baseline

recognizer (as 100), for two tasks, a general dictation task and a digit recognition task. As can be

seen in column 2 compared to column 1, the special purpose digit recognizer performs admirably

on the digit task (error rate of 25 vs the baseline 100, a 4x improvement) but performs almost twice

as poorly as the baseline recognizer on the dictation task. Looking instead at the adapted

recognizer in column 3, it still performs twice as well as the baseline recognizer on the digit task,

at a cost of only minor performance degradation (118) on the larger vocabulary dictation task.

       139.    It is precisely this ability to retain the original ability of the first recognizer in

adapting it to a second domain which shows the value of the ’925 Patent invention. It does so in

an efficient manner by not requiring the entire recognizer to be re-trained from scratch, because it

retains and operates in the context of the full phonemic context derived for the original (general

purpose) recognizer.

       D.      Comparing the Claims as a Whole.
       140.    In addition to all of the specific differences between individual claim limitations

identified above, I have also considered the claims as a whole. In my opinion, as discussed above

at length, the two claims are directed to entirely different solutions to entirely different problems.

Moreover, Dr. Cohen’s analysis ignores key limitations of claim 6 of the ’061 Patent—all of the

passages in his chart that are not color coded. These additional limitations are not mere surplusage,

and are integral to the ’061 Patent’s specific solution to the problem it was aimed at addressing.

There are at least four distinct limitations in ’061 Patent claim 6 that Dr. Cohen has ignored. First,

“and requires reduced resources compared to the first speech recognizer” is fully consistent with

and re-emphasizes the stated purpose of the ’061 Patent: to pare down a general purpose recognizer




                                                 47
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 48 of 60




for a more limited one that consumes fewer computational resources. Second, Dr. Cohen has

entirely skipped the limitations of dependent claims 2 and 4, both of which further emphasize the

particular function that claim 6 discloses, and that further illustrate how it differs from ’925 Patent

claim 1. Finally, the last limitation of claim 6 requires “and selecting those states with a frequency

of occurrence above a threshold as the subset of states.” This, too, emphasizes the function of

cutting down the general purpose recognizer to eliminate states that are relatively unused by the

specialized training data.

       E.        Claim 14 of the ’925 Patent Compared with Claim 15 of the ’061 Patent.
       141.      The substantive terms of ’061 Patent claim 15 (again, a dependent claim that

includes the limitations of claims 10, 11, 13, 14 and 15) are the same as the substantive terms of

’061 Patent claim 6. Likewise, the substantive terms of ’925 Patent claim 14 are the same as the

substantive terms of ’925 Patent claim 1. Therefore, my analysis of the differences between these

claims is the same as my analysis above.

       142.      I further note, however, that ’061 Patent claim 15 is drawn to “an apparatus for

automatically generating” while ’925 Patent claim 14 is drawn to “a computer-readable storage,

having stored thereon a computer program having a plurality of code sections executable by a

machine for causing the machine to automatically generat[e].” Dr. Cohen opines without analysis

that these limitations in the preambles of the two claims “are equivalent.” (Cohen Decl. ¶ 75).

Because that is a legal issue based on patent claim construction, and does not implicate any

technical analysis of the differences between the claims, I do not address Dr. Cohen’s conclusion

on that point.

       F.        Claim 27 of the ’925 Patent Compared with Claim 6 of the ’061 Patent.
       143.      Claim 27 contains similar claim limitations to claim 1. Claim 27 further adds

limitations concerning a first and second language that are the domains and the second speech

recognizer is multilingual: “wherein the first domain comprises at least a first language, wherein




                                                  48
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 49 of 60




the second domain comprises at least a second language, and wherein the second speech recognizer

is a multi-lingual speech recognizer.”

       144.    Dr. Cohen makes three arguments concerning claim 27: (i) incorporating his

opinions concerning claim 1, (ii) that “domain-specific training data” in claim 27 is the same as

“application specific training data” are the same, and (iii) that the final limitation of claim 27,

“wherein the first domain comprises at least a first language, wherein the second domain comprises

at least a second language, and wherein the second speech recognizer is a multi-lingual speech

recognizer,” though not actually present in claim 6 of the ’061 Patent, would have been obvious

to a POSITA in view of the cited prior art.

       145.    As to the first argument, it is my opinion that claim 27 is different from claim 6 for

reasons identified above with claim 1. As to his second point, I refer to and incorporate my

comments, above, concerning how the training data is used (see supra ¶¶ 109-112). Finally, in my

opinion, the final limitation of claim 27, “wherein the first domain comprises at least a first

language, wherein the second domain comprises at least a second language, and wherein the

second speech recognizer is a multi-lingual speech recognizer,” is simply absent from claim 6 of

the ’061 Patent. Therefore, this limitation, and claim 27 as a whole, are not an obvious variant of

’061 Patent claim 6. Dr. Cohen’s extensive reliance on additional purported prior art references
does not change my conclusion that claim 27 is not an obvious variant of claim 6. Instead, Dr.

Cohen’s analysis appears to be more akin to a traditional obviousness analysis; however, since

ODP is limited to the claims of the earlier patent, it is not permissible to combine the disclosures

of those claims with other alleged prior art.

       146.    Because his argument ignores the differences I have set out above, his argument is

misguided and irrelevant. For example, Dr. Cohen argues that because the first speech recognizer

can include a first and second language based on the Court’s claim construction, the multilingual

limitation does nothing more than apply claim 6 to a pre-existing multilingual speech recognizer

and multilingual speech recognizers were known in the art. (Cohen Decl. ¶ 82-84). Not only is

this conclusory argument lacking in any explanation as to why this would be the case, it is the


                                                49
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 50 of 60




wrong inquiry because claim 27 claims a completely different method for generating and adapting

a speech recognizer as explained above. Based on the invention of the ’925 Patent, a multilingual

speech recognizer can be created, e.g. through an iterative process to enhance the general

recognizer's phonetic contexts incrementally based upon further training data, where the domain

specific data contains the second language. The ’925 Patent accounts for phonetic contexts

available in the training data that are not already part of the first speech recognizer. Reference

claim 6 does not.

       147.    Additionally, Dr. Cohen has impermissibly relied on the ’061 Patent specification

throughout his argument in this section as prior art. I understand that as part of an ODP analysis,

the specification of the reference patent cannot be used as prior art. But this is precisely what Dr.

Cohen has done. He has looked to the specification and argued that because the ’061 Patent can

be used to adapt a recognizer to dialects, then it can be used to adapt a recognizer to be multilingual

(Cohen Decl. ¶ 84). Dialects are not covered in claim 6 and should not be considered in this

analysis—it not the specification as a whole but what the patent claims that is relevant. Because

Dr. Cohen is relying on the ’061 Patent specification as prior art to conclude a POSITA would find

claim 27 obvious in view of other purported prior art, his entire analysis suffers from this flaw and

should not be considered.
       148.    Even though Dr. Cohen’s argument is based on faulty premises, I nonetheless have

addressed some of his arguments because they do not make sense at face value. The ’061 Patent

method would contain only a subset of states and cannot account for phonetic contexts found in

the new training data of a second language. In discussing the adaptation of its recognizer for

another dialect, e.g. Austrian German, the ’061 Patent does not add any HMM states. The

description beginning at col. 8:36, and in particular the equation in the midst of this description,

shows how the process operates. As before, additional training data, this time from the new dialect,

is fed through the recognizer. Instead of simply determining which components of the Gaussian

Mixture Model (PDF components) are under-utilized, and hence subject to deletion (pruning), the

equation shows that the decision is biased in favor of the new training data. Thus the new training


                                                  50
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 51 of 60




data, i.e. the data corresponding to the desired new application, is given more importance than the

generic training data when making the decision as to whether a particular Gaussian should be

squeezed.

       149.    The adaptation to a specific dialect in the ’061 Patent thus consists of simply

removing those PDF components of the general recognizer which are not found in the training data

from the dialect. If there are some sounds or ways of speaking in the general language recognizer

that do not occur in the dialect, then they cannot help recognition performance in the specialized

(dialect) recognizer, and can be removed, to achieve the goal of a smaller computational or

memory footprint, in the specialized recognizer.

       150.    By comparison, in the ’925 Patent, according to claim 27, the phonetic context and

decision network are modified during the process of recalculating the first recognizer, which

includes at least one language, to a second recognizer that includes at least a second language, by

adding domain-specific training data from the second language. The second language will share

many speech sounds with the first, but may well have some sounds not found in the first language.

This new training data will change the decision network, but all the training which went into the

first recognizer carries over into the second, compound recognizer. The newly acquired training

data from the second language would then be used to generate the HMMs associated with newly
created leaf nodes.

       151.    The two approaches are quite distinct. The ’061 Patent operates at the level of the

HMMs requiring states and Gaussian Mixture Models (GMMs) requiring probability density

functions (PDFs), and can only delete pronunciations (states and PDFs). The ’925 Patent operates

at the level of the decision network/phonemic context– the phonemic mix of both languages, when

during adaptation, it mixes in the phonemes of a new language.

       152.    Paragraph 85 is equally misguided because it relies on conflating the methods of

claim 6 with the methods of claim 27, without considering any of the differences in the two

methods. The issue is not that multilingual speech recognizers existed, but that claim 6 and claim

27 claim entirely different ways of adapting speech recognizers. Dr. Cohen simply mentions


                                                51
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 52 of 60




speaker dependent recognizers and other art and several papers about multi-lingual recognizers,

neither fact being particularly relevant to the differences between reference claim 6 of the ’061

Patent and claim 27 of the ’925 Patent. The statement implying that building a speaker dependent

recognizer and a multilingual recognizer using processes which vary only on the basis of training

data is factually incorrect and unsupported. The ’925 Patent disagrees at the discussion of MAP

and MLRR at col. 6:36-43.

       153.    Dr. Cohen refers to the Schultz paper attached to his declaration as Exhibit D,

“Multilingual and Crosslingual Speech Recognition,” apparently to demonstrate that multilingual

recognizers were known in the art. I do not dispute this general observation, but fail to see how

Dr. Cohen has demonstrated that any concept in this publication mapped to the invention disclosed

in the ’925 Patent. Further, in conducting the ODP analysis, I have been informed that it is not

permissible to combine the reference patent with other prior art. In fact, the paper discusses

multilingual recognizers which are designed up front for multiple languages, based on creating an

entirely new recognizer by initially combining training data from multiple languages which have

been pre-selected to give broad phoneme coverage. This is different from the ’925 Patent process

of re-estimation to augment a first recognizer (that includes a first language) with a second domain

that ultimately results in a multi-lingual recognizer. The paper also discusses “crosslingual”
recognition in which “the developed multilingual systems are applied to recognize new unseen

languages without any additional training” (Schultz Exhibit D at p. 5, emphasis original). The

’925 Patent is clearly a different technique which relies on additional training data.

       154.    Dr. Cohen then offers a hypothetical example of a recognizer multilingual in three

languages, being given additional training data in two of those languages, with a resulting

recognizer for some reason recognizing only two languages. Perhaps this is meant to dovetail with

the fact that the ’061 Patent can only delete or remove recognition ability, and so further constrain

the recognizer. But the given example, which is apparently to show how the ’061 Patent could

generate a multilingual recognizer by starting with a multilingual recognizer, simply would not

work as described. In Dr. Cohen’s example, the original recognizer knows Portuguese, Italian,


                                                 52
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 53 of 60




and Spanish phonemes. It is fed adaptive data for Italian and Spanish. According to the ’061

Patent process, sounds not heard in the adaptation data (i.e., the Portuguese phonemes) will have

their associated states deleted. So the resulting recognizer could not, as Dr. Cohen asserts,

recognize Portuguese (as a “first language”) and Italian (as a “second language”) because all the

Portuguese-specific sound models would have been deleted.

       155.    Further, creating a multi-lingual recognizer by starting with a multi-lingual

recognizer and removing the ability to recognize one of the languages does not analyze the

differences between the claims in determining whether claim 27 is patentably distinct. If anything

it underscores why a POSITA would not apply claim 6 to developing a multilingual speech

recognizer. First, it would be strange indeed if a POSITA, wanting to generate a recognizer for

some pair (or more) of languages would start with a recognizer which could already recognize

those languages, and then some, and look to delete the language(s) not needed. One wouldn’t even

consider the ’061 Patent because it is directed to shrinking a recognizer (in order to employ it in

computational constrained situation) rather than extending the recognizer to add the capability of

recognizing a second language. Second, this points out just why the ’925 Patent does not reflect

the claims of the ’061 Patent at all. The ’925 Patent strives to maintain, and extend, phonetic

richness, in the form of the phonetic decision tree, by augmenting and re-estimating it based on
new adaptation data (containing, in this case, the sounds of the second language which are not

found in the first language). Of course, this is almost certainly going to use more computational

resources; this is the exact opposite of the requirement placed on the ’061 Patent.

       156.    Paragraph 86 adds nothing to the analysis as it simply mentions a publication

(Schultz, Cohen Decl. Exhibit E), which was cited on the face of the ’925 Patent; of course multi-

lingual recognizers were known at the times of each of the patents in question. Dr. Cohen has not

analyzed how these speech recognizers were created using steps of claim 27 that are different from

claim 6. The Examiner cited this publication and still found claim 27 patentable (Exhibit C (’925

Patent file history, Office Action dated 18 May 2005)); the applicants overcame this rejection

simply by moving some limitations of dependent claims into the independent claims. As with the


                                                53
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 54 of 60




Schultz paper cited as Cohen Exhibit D, this paper also attempts to build a global phoneme pool

by combining phonemes from a number of languages, and then specializing this collection for a

particular language, a different technique from that of adapting a given recognizer for a new

language as claimed in the ’925 Patent. Further, in conducting the ODP analysis, I have been

informed that it is not permissible to combine the reference patent with other prior art. It is clear

that Dr. Cohen’s analysis is not simply using this prior art in order to construe claim language as

part of his step one analysis, or to show that a POSITA would understand some limitation of ’061

Patent claim 6 to correspond to this limitation. There is no corresponding limitation in claim 6,

and Dr. Cohen is using the prior art either in combination with the ’061 Patent, or instead to

completely read this limitation out of ’925 Patent claim 27. Neither is permissible.

       157.    Dr. Cohen further argues that the methods of claim 6 can be used to expand a single

language recognizer to a multi-lingual recognizer at paragraph 87. First, this is not the appropriate

inquiry here as Dr. Cohen has supplanted claim 27 for claim 6 of the reference patent, completely

ignoring the differences. Second, Paragraph 87 seems to somehow confuse the explicit mention

of HMMs in claim 6 of the ’061 Patent with multi-lingual recognition, simply because HMMs

model speech sounds and a language is composed of speech sounds. The ’061 Patent would adapt

to a dialect (again, dialects are not claimed in the ’061 Patent and should not be considered in this
analysis) by deleting HMMs corresponding to sounds found in the general language recognizer

(e.g. German) which are not found in a particular dialect of that language (e.g. Austrian German).

The remainder of the paragraph makes no sense, unless the expert does not appreciate that Austrian

is not a distinct language, but rather simply a dialect of the German language. Dr. Cohen fails to

show how removing speech sounds from a single-language recognizer can turn it into a multi-

lingual recognizer. Nor does he give any indication of how removing pronunciations could

possibly “apply equally” to adding the phonemes of a new language to a recognizer, and most

significantly, how any of this applies to the techniques claimed in the ’061 Patent.

       158.    Again, in Paragraph 88 Dr. Cohen impermissibly seeks to rely on the specification

of the ’061 Patent as prior art, but it seems to be an attempt by Omilia’s expert to re-write the ’061


                                                 54
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 55 of 60




Patent in a way not disclosed in any form in its specification—neither of which are permissible or

make sense. Specifically, Dr. Cohen states that, “one way to do this would be to add nodes for

phones in training data” but this is Omilia’s expert making up his own invention. Since the ’061

Patent never discusses changing nodes in a decision tree, but only using it for bootstrapping the

original recognizer, the expert’s opinion that such could have been done is not suggested in any

way by the specification and is therefore irrelevant. Nothing in the ’061 Patent begins to suggest

that those resources might be used by adding new HMMs corresponding to new phonemic contexts

associated with a new language. In fact, since the ’061 Patent operates only at the level of the

HMMs and PDFs, having used a phonemic decision tree only to generate these in the bootstrapping

process for the base recognizer, it would be quite at odds with the specification to do so.

       159.    The premise of the ’061 Patent is that one can start with a general purpose

recognizer and configure it to perform adequately for a particular application by observing the

speech sounds found to be most relevant to that application, and removing portions of the

recognizer which contribute only to recognizing other speech sounds, i.e. removing HMM states

and/or associated output PDFs. In the process of doing such, a developer would run training data

through the system, detect unneeded states or PDFs, remove them, and verify that recognition

performance was not unduly compromised. One might indeed find, as the ’061 Patent points out,
that acceptable performance can be obtained using even fewer computational or memory

resources. Indeed, then the excess saved resources could be used in some other aspect of the

recognition process to improve performance further. But absolutely nothing in the ’061 Patent

suggests that those “spare cycles” be used for the totally unrelated function of possibly adding

terminal nodes by re-estimating a decision tree. Yet a new language requires new nodes in the

tree, as it has different phonemic contexts, and almost certainly even new base phonemes than the

original language – a very different proposition from removing states to optimize recognition on a

dialect. Spare resources could easily be employed in language modeling, for example (a part of

any large vocabulary recognizer, but beyond the scope of either patent); decision trees are

mentioned only in the initial, bootstrapping, phase for the ’061 Patent recognizer and there is no


                                                 55
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 56 of 60




suggestion of performing the additional operations on them required for adapting to a new

language.

       160.    Beginning at paragraph 89, Omilia’s expert opines on a process for building a

multi-lingual recognizer as disclosed in the Sabourin patent, which is completely distinct from

claim 27 of the ’925 Patent.

       161.    Dr. Cohen argues that a POSITA would have combined the teachings of Sabourin

with the ’061 Patent “to account for phones in the second language or domain by adding a node to

recognize phones not present in the first speech recognizer and generating a multilingual speech

recognizer as taught by Sabourin.” I disagree for a number of reasons.

       162.    Foremost, Dr. Cohen’s opinion does not consider the difference between reference

claim 6 and claim 27, but relies on the specification of the ’061 Patent. This is improper under

this analysis. I understand that for obviousness-type double patenting analysis, it is the claims, not

the specification, that define an invention and it is the claims that are compared when assessing

double patenting. Dr. Cohen does not even consider the differences in claims of the ’925 Patent

at all in his analysis. This is telling because Sabourin does not contribute in any way to the claims

of the ’061 Patent in comparing them to the ’925 Patent.

       163.    Further, in conducting the ODP analysis, I have been informed that it is not
permissible to combine the reference patent with other prior art. Thus, Dr. Cohen’s reliance on

Sabourin is improper. Dr. Cohen makes no substantive analysis of Sabourin, simply making vague

suggestions that Sabourin somehow suggests how claim 6 can be used to accomplish the same end

as claim 27, without even touching on which aspects of Sabourin would support such a suggestion

or, more importantly, how Sabourin harmonizes with claim 6 in a manner which shows it is not

distinct from claim 27. In this analysis Dr. Cohen suggests that Sabourin discloses “the method

of the ‘061 Patent with the additions of nodes to generate a multi-lingual recognizer.” (Cohen ¶89)

But the ’061 Patent can only delete states (which Dr. Cohen equates with nodes) so how could the

opposite teaching be suggested? It certainly is not found in Sabourin.




                                                 56
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 57 of 60




       164.    Sabourin describes in detail a process for creation of a multi-lingual recognizer. It

begins with letter to sound rules (found in neither the ’061 Patent nor the ’925 Patent, both of

which use phonetically labelled or HMM aligned training data) which allow training data to be

assigned to an apparently hand selected set of pre-determined phonemes for the joint languages.

This rule set is not built computationally but rather by a trained linguist (col. 5:21-22). Phonemes

in the second language are initially mapped to the nearest phonemes in the first language, not by a

decision tree, but rather by evaluating similarity, based on a phonemic feature description of the

phonemes (again, determined by a linguist or phonetician), finding which old phoneme is

minimally different from the new one by minimizing a “transformation” rule, which basically

compares which articulatory features are similar or different across the set of old phonemes.

       165.    After this is done, the recognizer for the new language can be further adapted to the

new pronunciations using maximum a posterior adaptation (MAP), which is a process of updating

HMM models with new data after they have been initially modeled by training data. But this

technique is specifically taught away from in the ’925 Patent and the ’061 Patent. “Adaptation

techniques known the (sic) within the state of the art, for example maximum a posteriori adaptation

(MAP) or maximum likelihood linear regression (MLLR)… exclusively target the adaptation of

the HMM parameters based on training data. Importantly, these approaches leave the phonetic
contexts unchanged; that is, the decision network and the corresponding phonetic contexts are not

modified by these technologies.” (’925 Patent at col. 6:36-46); (see also ’061 Patent at col. 4:29-

34 (“The proposed solution according to the present invention to the above-mentioned problems

is orthogonal to approaches which exploit speaker adaptation techniques, like, e.g., maximum a

posteriori adaptation (MAP)…”).

       166.    Eventually Sabourin does mention decision trees, but only in the context of splitting

phonemes into allophones – i.e. variants of the phoneme with different acoustic realizations. But

unlike the ’925 Patent, which could possibly end up with allophones in different leaf nodes, a

separate HMM is not trained for each, but rather the allophone is adapted from the original HMM

using, once again, MAP adaptation (col. 11:34). So the only similarities between Sabourin and


                                                57
        Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 58 of 60




the ’925 Patent are that it deals with multiple languages and makes temporary use of a decision

tree in a limited context.

        167.    Thus Sabourin does not resolve the differences between the ’061 and ’925 Patents,

or even contribute relevant teachings or employ related methods. When properly considering the

differences discussed above, claim 27 is not an obvious variant of claim 6. Removing HMM states

and PDFs is no more similar to re-estimating decision trees in the context of multi-lingual

recognition than it was in the analysis of claim 6 against claim 1. The emphasis on removing

rather than adding or enhancing recognizer footprint simply does not speak to accounting for

phonetic contexts of the second language.

        168.    Second, even if the specification of the ’061 Patent were considered in this analysis,

this would not change my opinion because nothing in the specification of the ’061 Patent would

render claim 27 obvious in view of Sabourin. The ’061 Patent is such a different technique, that

it would have no place in operating alongside or in addition to Sabourin, and Dr. Cohen certainly

doesn’t present such an analysis.

        169.    Next Dr. Cohen argues that a POSITA would have combined Sabourin and the ’061

Patent to generate a multilingual speech recognizer. This is beside the point. The appropriate test

here requires that the differences between the claims be considered in view of the prior art, and
Dr. Cohen has not performed this analysis. Whether the ’061 Patent could be applied to a pre-

existing multilingual speech recognizer does not obviate the method of claim 27 by which a

multilingual speech recognizer is adapted. Taking Dr. Cohen’s argument at face value (that claim

6 of the ’061 Patent can be performed on a pre-existing speech recognizer that remains

multilingual), this would not lead a POSITA to conclude that claim 27 is obvious variant of claim

6 for the same reasons I have already cited above.

        170.    Finally, Dr. Cohen cites to Schultz in his opinion at paragraph 93 to conclude the

same thing he does with Sabourin, that a POSITA would combine the ’061 Patent claim 6 with

another Schultz paper (Exhibit G to his declaration) to create a multilingual speech recognizer.

First, in conducting the ODP analysis, I have been informed that it is not permissible to combine


                                                 58
Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 59 of 60
       Case 1:19-cv-11438-PBS Document 233 Filed 01/07/21 Page 60 of 60




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       I hereby certify that this document and its exhibits and attachments thereto will be filed

through the ECF system and will be sent electronically to the registered participants as identified

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registered participants on January 7, 2021.


                                              /s/ Christian E. Mammen
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                                                60
